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                                                                           Page 1
             UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT OF FLORIDA
             -----------------------------------------X
             IRA KLEINMAN, AS THE PERSONAL
             REPRESENTATIVE OF THE ESTATE OF
             DAVID KLEINMAN, AND W&K INFO DEFENSE
             RESEARCH, LLC,
                                    Plaintiffs,
                          -against-                           Index No.:
                                                            9:18-CV-80176
             CRAIG WRIGHT,
                                    Defendant.
             -----------------------------------------X



                                                   55 Hudson Yards
                                                   New York, New York
                                                   July 24, 2019
                                                   1:00 P.M.


                   EXAMINATION BEFORE TRIAL of JONATHAN WARREN, a
             Non-Party Witness herein, taken by the attorney for
             the respective parties, pursuant to Notice, held at
             the above-stated time and place, before Melissa
             Leonetti, RPR, a Notary Public of the State of New
             York.


                                          - - - -

             Plaintiffs' Designations
             %FGFOEBOUhT$PVOUFS%FTJHOBUJPOT
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               FGFOEBOUhT $PVOUFS%FTJHO UJ

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              Redacted
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                                                                           Page 2
        1                       A P P E A R A N C E S:
        2
        3     BOIES SCHILLER FLEXNER, LLP
                   Attorneys for the Plaintiff
        4          100 SE 2nd Street, Suite 2800
                   Miami, Florida 33137
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                   zkass@riveromestre.com
       13
                     AMANDA McGOVERN, ESQ.
       14            amcgovern@riveromestre.com
       15
       16
       17
       18     ALSO PRESENT:
       19     RICHARD EASTMAN, VIDEOGRAPHER
       20
       21
       22
       23
       24
       25
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                                                                           Page 3
        1             F E D E R A L       S T I P U L A T I O N S
        2
        3          IT IS HEREBY STIPULATED AND AGREED, by and
        4    between the parties hereto, through their
        5    respective Counsel, that the certification,
        6    sealing and filing of the within examination will
        7    be and the same are hereby waived;
        8          IT IS FURTHER STIPULATED AND AGREED that all
        9    objections, except as to the form of the question,
       10    will be reserved to the time of the trial;
       11          IT IS FURTHER STIPULATED AND AGREED that the
       12    within examination may be signed before any Notary
       13    Public with the same force and effect as though
       14    signed and sworn to before this Court.
       15
       16
       17
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                                                                           Page 4
        1                  THE VIDEOGRAPHER:       We are now on the
        2          record.     This begins videotape number 1 in
        3          the deposition of Jonathan Warren in the
        4          matter of the Estate of David Kleinman, et
        5          al., versus Craig Wright, filed in the United
        6          States District Court, Southern District of
        7          Florida, case number 18-CV-80176.
        8                  Today is July 24, 2019, and the time is
        9          approximately 1 p.m.        This deposition is
       10          being taken at Boies Schiller Flexner at 55
       11          Hudson Yards in New York, New York, at the
       12          request of Boies Schiller Flexner.
       13                  The videographer is Richard Eastman of
       14          Magna Legal Services, and the court reporter
       15          is Missy Leonetti of Magna Legal Services.
       16                  Will counsel and all parties present
       17          state their appearances and who they
       18          represent.
       19                  MR. KEEFE:     Robert Keefe on behalf of
       20          the plaintiffs.
       21                  MR. FREEDMAN:      Vel Freedman on behalf
       22          of the plaintiffs.
       23                  MR. KASS:     Zalman Kass on behalf of Dr.
       24          Craig Wright.
       25                  MS. McGOVERN:      Amanda McGovern on
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       11          Q.      Good afternoon, Mr. Warren.         Can you
       12    please state your name for the record.
       13          A.      Sure.    It's Jonathan Warren.
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                                                                           Page 8


        2            Q.      Mr. Warren, how old are you?
        3            A.      34.
        4            Q.      Where do you live?
        5            A.      I live in Brooklyn in Bed-Stuy.
        6            Q.      In we could, I would like to go through
        7    your education after high school, so if you could
        8    start with whatever the first -- if you had any
        9    additional schooling after high school.
       10          A.        I went to the University of Cincinnati
       11    and studied computer science, and I graduated in
       12    2012.
       13          Q.        You got a bachelor's in computer science?
       14          A.        Yes.




       18          Q.        Where do you currently work?
       19          A.        I work at a company called HighSide
       20    Incorporated, which was a company that I started
       21    with two other individuals, and I work from home.
       22          Q.        Okay.    Have you worked there since 2012?
       23          A.        No.    I've worked at HighSide for three
       24    years.       Before that, I worked at a different Bitcoin
       25    company called Coin Apex.         Before that I worked at
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                                                                           Page 9
        1    Bitinstant, which was another Bitcoin company.




       15          Q.      Do you know what Bitmessage is?
       16          A.      Yes.
       17          Q.      How do you know what Bitmessage is?
       18          A.      I created it.
       19          Q.      What is Bitmessage?
       20          A.      Bitmessage is a fully decentralized,
       21    trustless peer-to peer messaging system which allows
       22    people to exchange simple messages like short text
       23    messages in a way that doesn't involve a server or
       24    third parties.
       25          Q.      Is Bitmessage a software?
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                                                                          Page 10
         1          A.     Bitmessage is a software and a protocol,
         2    so the Bitmessage protocol specifies that how
         3    Bitmessage software can communicate with other
         4    clients in the same way that email is a protocol and
         5    also a type of client which utilizes the protocol.
         6          Q.     When did you first start working on
         7    Bitmessage?
         8          A.     2012.
         9          Q.     Do you recall when in 2012?
       10           A.     Probably in the summer.         Early summer, I
       11     think.
       12           Q.     Okay.    What was the first thing you did
       13     when you began working with Bitmessage?
       14           A.     Planning out how the protocol could work,
       15     just thinking and sketching on paper how I thought
       16     clients could communicate.
       17                  It borrows a lot of technology from
       18     Bitcoin, specifically how transactions are relayed
       19     through the network, and I believe I just started
       20     planning out what -- or how the protocol would
       21     work, how clients would communicate with one
       22     another.
       23           Q.     Did you eventually start writing code?
       24           A.     Almost immediately.
       25           Q.     In the early summer of 2012 is when you
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                                                                          Page 11
         1    started?
         2          A.     Yes.
         3          Q.     Did anyone assist you or help you in the
         4    early summer of 2012 developing or coding
         5    Bitmessage?
         6          A.     No.
         7          Q.     You were working on your own?
         8          A.     Yes.




       18           Q.     Mr. Warren, I'm going to hand you what I
       19     would like to mark as Plaintiff's 2.
       20                  (Whereupon, a Bitmessage document was
       21           marked as Plaintiff's Exhibit 2 for

   H   22           identification, as of this date.)
       23           Q.     Do you recognize this document?
       24           A.     Yes.
       25           Q.     What is it?
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                                                                          Page 12
         1          A.      This is a white paper that I wrote in
         2    2012, right, as I released Bitmessage.            The purpose
         3    of this was to explain how the system works to other
         4    people, especially technical people who could
         5    understand the intricacies of these sorts of
         6    protocols.
         7          Q.      Did anyone help you write it?
         8          A.      No.
         9          Q.      Did anyone edit it for you?
       10           A.     No.
       11           Q.     When did you first start writing it?
       12           A.     I don't remember.
       13           Q.     Was it after you finished coding
       14     Bitmessage?
       15           A.     Yes.    The coding was almost completely
       16     done when I was working on this.
       17           Q.     Did there come a time when you shared
       18     this white paper with anyone?
       19           A.     No.
       20           Q.     Did there come a time when it was
       21     published to the public?
       22           A.     It was only published to the public when
       23     I posted it about -- when I posted it in a forum
       24     called the Bitcoin Talk forum which is utilized by a
       25     lot of Bitcoin users.
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                                                                          Page 13
         1           Q.    Do you know when it was that you posted
         2    it to the Bitcoin Talk forum?
         3           A.    I believe it was right around this date,
         4    November 27th.      I don't remember exactly.
         5           Q.    That's the date that's reflected on the
         6    document?
         7           A.    Yes.
         8           Q.    I know you said it was published after
         9    you said you finished the coding.           Was it published
       10     before or after the software was released to the
       11     public?
       12            A.    It was -- well, I put the code on GitHub,
       13     and the code was technically available before I
       14     released this to the public, but it -- I have no
       15     reason to believe that anyone accessed the code
       16     before I publicized it.        So from my perspective,
       17     from a practical point of view, the code and the
       18     paper were published at the same time.
       19            Q.    You mentioned GitHub.        What is GitHub?
       20            A.    GitHub is a source code control service
       21     on the Internet that developers can use to
       22     collaborate.
       23            Q.    Is it a website that can be accessed by
       24     URL?
       25            A.    Yes.
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                                                                          Page 14
         1            Q.   What is the URL?
         2            A.   GitHub.com.
         3            Q.   Did there come a time -- you mentioned
         4    you released the Bitmessage software or GitHub.com?
         5            A.   Yes.
         6            Q.   When was that date?
         7            A.   November 19, 2012.
         8            Q.   Prior to November 19, 2012, did you ever
         9    share the Bitmessage software or source code with
       10     anyone?
       11           A.     No.
       12           Q.     Were there ever any beta testers of the
       13     Bitmessage software prior to its release on November
       14     19, 2012?
       15           A.     No.
       16           Q.     Prior to November 19, 2012, where was the
       17     Bitmessage source code software located?
       18           A.     It was located on my personal computer at
       19     home and also my work computer.
       20           Q.     Would it have been possible for anyone
       21     besides you to run Bitmessage prior to November 19,
       22     2012?
       23           A.     No.
       24           Q.     Would it have been possible for anyone
       25     besides you to have sent a Bitmessage prior to
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                                                                            Page 15
             1   November 19, 2012?
             2        A.     No.
             3        Q.     Would it have been possible for anyone
             4   other than you to have received a Bitmessage prior
             5   to November 19, 2012?
             6        A.     No.
             7        Q.     If I were to show you a printout of a
     S
             8   Bitmessage that wasn't sent by you but was
     F
    LEC      9   purportedly sent prior to November 19, 2012, would
            10   that message then necessarily been forged?
            11               MR. KASS:     Objection to the form.
S, F, LEC   12        A.     Yes.




            15        Q.     Mr. Warren, if I showed you a document, a

       S    16   printout of a Bitmessage that wasn't sent by you but
       F    17   was dated, either sent or received, prior to
            18   November 19, 2012, what would you conclude about
            19   that document or about that Bitmessage?
            20               MR. KASS:     Same objection.
            21        Q.     You can answer.
       S
       F    22        A.     That it isn't a real Bitmessage.
            23        Q.     Are you aware that you're being deposed
            24   in a lawsuit going on between the Estate of Dave
            25   Kleinman and Dr. Wright?
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                                                                          Page 16
         1          A.     Yes.
         2          Q.     In this lawsuit, there was a hearing on
         3    June 20, 2019, and at that hearing Dr. Wright
         4    testified that, quote, if you look at the GitHub,
         5    you'll find that Bitmessage actually came out
         6    originally in July, end quote, of 2012.
         7                 Is that a true statement?
         8                 MR. KASS:     Objection to the form.
         9          A.     No.


       11                  Mr. Warren, I'm handing you what I'm
       12     going to mark as plaintiff's composite number 3.
   H   13     It goes to the reporter first.
   R
       14                  (Whereupon, a Bitmessage was marked as
       15           Plaintiff's Exhibit 3 for identification, as
       16           of this date.)
       17           Q.     Do you recognize these four pages?
       18           A.     Yes.
       19           Q.     What are they?

   R   20           A.     This is the commit history on GitHub,
       21     which means that these are -- this is a list of
       22     changes that I made to the Bitmessage software when
       23     I -- around the time that I first released it.
       24           Q.     What are commits?
       25           A.     Commits are a collection of code changes
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                                                                            Page 17
         1    that you decide to commit all at the same time.               So
         2    for example, if I decide to change the spelling of
         3    my name throughout all of the different occurrences
         4    that it might occur in a -- in a code base, I might
   R
         5    change them all and have that be one commit.             So
         6    usually a commit represents one change to a code
         7    base.
         8          Q.     And two commits to post to GitHub?
    R
    H    9          A.     Not necessarily.       You can commit locally
        10    and then push them to GitHub later.
        11          Q.     Okay.    Looking at the first page of this
        12    document at the bottom of the screenshot, it says
        13    Jonathan Warren committed on November 11, 2012.
        14          A.     Uh-huh.
        15          Q.     Is that you?
        16          A.     Yes.
        17          Q.     And then looking at the next pages, the
        18    commits appear to have been submitted by Atheros1?
        19          A.     Yes.
        20          Q.     Is that also you?
        21          A.     Yes.
        22          Q.     Why did you have two accounts?
        23          A.     It's likely that on my work computer I
        24    was logged in one way and on my home computer I was
        25    logged in another way.        That's likely the
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                                                                          Page 18
         1    difference.
         2          Q.     The document also shows that the initial
         3    commit was on November 11, 2012?
         4          A.     Yes.
         5          Q.     Okay.    I will take that document back
         6    from you.
         7                 I'm going to hand you what I'm going to
         8    mark first as Plaintiff's Exhibit 4.
         9                 (Whereupon, a Bitmessage was marked as
       10           Plaintiff's Exhibit 4 for identification, as
       11           of this date.)
       12           Q.     Do you recognize this document as the
       13     details of the initial commit?
  R
  H    14           A.     Yes.
       15           Q.     And it shows that the only thing you did
       16     on November 11, 2012, was upload a text file that
       17     says PyBitmessage?
       18           A.     Correct.
       19           Q.     I'm going to show you you what I'll have
       20     marked as Plaintiff's Exhibit 5.
       21                  (Whereupon, a Bitmessage was marked as
       22           Plaintiff's Exhibit 5 for identification, as
       23           of this date.)
       24           Q.     I'm going to hand you back what was
       25     marked as Plaintiff's Exhibit 3 for use of
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                                                                          Page 19
           1   comparison.    If you go back to Plaintiff's Exhibit
           2   3, you'll see the next commit was done on November
           3   19, 2012.
           4        A.     Yes.
           5        Q.     What's been marked as Plaintiff's Exhibit
           6   5, once you review it, do you recognize this

  R        7   document as the details of the commit that occurred
  H
           8   on November 19, 2012?
           9        A.     Yes.
          10        Q.     And this shows that the first time you
          11   uploaded the source code in rentable software on
          12   GitHub was on November 19, 2012?
          13        A.     Yes.
          14        Q.     That commit was on November 19, 2012?
          15        A.     Yes.
          16        Q.     That's when you upload the software and
      L
          17   source code of Bitmessage to GitHub?
          18               MR. KASS:     Objection to the form.
      L   19        A.     Yes.
          20        Q.     Was there any way anyone other than you
      F
      S   21   could have sent or received a Bitmessage prior to
          22   when you uploaded the source code and software to
          23   GitHub?
          24               MR. KASS:     Objection?
  F, S    25        A.     Not to my knowledge.
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                                                                           Page 20
         1          Q.     Mr. Warren, what is a Bitmessage address?
         2          A.     A Bitmessage address is a hash of a
         3    publish key.
         4          Q.     Have there have been different versions
         5    of Bitmessage addresses?
         6          A.     Yes.    I believe there have been four.
         7          Q.     Okay.    How would you know that a
         8    Bitmessage address is a fourth version?
         9          A.     Every Bitmessage address has the version
       10     encoded into it.




       16           Q.     I'm going to hand you what I'll have
       17     marked as Plaintiff's Exhibit 6.
   H
   R   18                  (Whereupon, a Bitmessage was marked as
       19           Plaintiff's Exhibit 6 for identification, as
       20           of this date.)




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       10                  Do you remember when version 4
       11     Bitmessage addresses came to be used?
       12           A.     I didn't remember exactly.          I believe it
       13     was at least six months to a year after the software
       14     was initially released.        However, the document you
       15     just showed me has a date on it that I just read
       16     that says August 2013, which that document very
       17     clearly indicates that that is when version 4
       18     addresses were made available to the public.
   H
   R   19           Q.     I will hand you back what was marked as
       20     Plaintiff's Exhibit 6.
       21                  Do you recognize this document?
       22           A.     Yes.
       23           Q.     What is it?
       24           A.     This is a diff, which is the technical
       25     term for a code change that represents the
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                                                                             Page 22
         1    difference between how code was versus how code is
   H
         2    as a result of the diff, and this diff shows when I
   R
         3    added version 4 addresses.
         4          Q.     Can you say -- after reviewing this
   L
   R     5    document, can you say with confidence that version 4
         6    addresses were not available before August 12, 2013?
         7          A.     Yes.




       15           Q.     I'm going to hand you a document that I
       16     will have marked as Plaintiff's Exhibit 7.
  H
       17                  (Whereupon, an email was marked as
  IC
       18           Plaintiff's Exhibit 7 for identification, as
       19           of this date.)
       20           Q.     If you could turn to a page on the bottom

   H   21     that bears the Bates label ending with 56406.              I
   R
       22     know it's hard to read, so I will represent to you
       23     that on the page towards the back that at the top
       24     says page 9 of 10 is a more legible version that
       25     does not bear the Bates stamp.          So you can use this
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                                                                          Page 23
         1    one that has a more legible version.
         2          A.      Okay.
         3          Q.      Do you see the bottom message in this --
         4    in box -- in the "from" field?
         5          A.      Yes.
         6          Q.      It shows an address beginning with BM-2C?
         7          A.      Yes.
         8          Q.      And it also shows a received date of
         9    October 22, 2012?
        10          A.     Yes.
        11          Q.     What does that date tell you about the
   F
        12    message?
        13          A.     It tells me that something has been
   F
        14    faked.     Either the date has been faked or the
   O
        15    screenshot has been faked.
        16          Q.     Why do you say that?

    F   17          A.     Because Bitmessage wasn't released at
        18    that time back in October of 2012.
        19          Q.     Do you have any doubt that the date shown
        20    here, October 22, 2012, is forged?
        21                 MR. KASS:     Objection to the form.
        22          Q.     You can answer.
        23          A.     Could you repeat the question.
  F
        24          Q.     Do you have any doubt that the date
 LEC
        25    reflected here, October 22, 2012, was forged?
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                                                                          Page 24
          1                MR. KASS:     Objection to the form.
F, LEC    2         A.     No.
          3                MR. KASS:     Lack of predicate.
          4         Q.     Could -- a version 4 address, if sent any
          5   time prior to August of 2013 when it was released,
    L
          6   could the Bitmessage software have handled that
    F
          7   address?
          8         A.     No.
          9
         10
         11
         12


         14                I'm now going to hand you what I'll
         15   have marked as Plaintiff's 8.
    H
         16                (Whereupon, a Bitmessage was marked as
    R
         17         Plaintiff's Exhibit 8 for identification, as
         18         of this date.)
         19         Q.     Again, I will represent to you that
         20   because the first page that bears the Bates number
         21   13147 may be hard to read that the second page is
         22   just a more legible version of the same document.
         23                When someone creates a Bitmessage
         24   account, can they -- they can create their own
         25   account name?
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                                                                          Page 25
         1                 MR. KASS:     Objection to the form.
         2          A.     They -- no.      The protocol doesn't include
         3    names at all.     If you add an entry to an address
         4    book as is shown on this piece of paper, that is
         5    entered by the person controlling your own client.
         6          Q.     Okay.    So if someone creates a Bitmessage
    L    7    -- someone has a Bitmessage address and they would
   IH
         8    like to assign a name to it, they can enter whatever
         9    name they would like?
        10                 MR. KASS:     Objection to the form.

L, IH   11          A.     Correct.




        23          Q.     Is it possible to assign a name to a
        24    public address that you do not own?
        25                 MR. KASS:     Objection to the form.
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         1          A.     Yes.
         2          Q.     I will take back that document.           When you
         3    assign a name to a public address, would your client
         4    show that name regardless of who the address
         5    actually belongs to?
         6          A.     Yes.
         7          Q.     I'm going to hand you what will be marked
         8    as Plaintiff's 9.
         9                 (Whereupon, a Document was marked as
       10           Plaintiff's Exhibit 9 for identification, as
       11           of this date.)
   H   12           Q.     First I would like to direct your
   F
       13     attention to the message that's displayed on the
       14     page bearing Bates number 0204.
       15                  What is the subject of the message
       16     that's displayed here?
       17           A.     Do you mean the one that's selected?
       18           Q.     Correct.
       19           A.     The trust process.
       20                  MR. KASS:     I object to the use of this
       21           document.     Mr. Warren's not on it, and I
       22           don't see how he has a basis to provide any
       23           testimony on it.
       24                  MR. FREEDMAN:      It's our position that
       25           he created the software that this message is
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                                                                          Page 27
          1         being displayed at, so he has the ability to
          2         opine the authenticity of the message that
          3         predates the program's actual creation, but
          4         your objection is preserved.
          5                MR. KASS:     Mr. Warren is not an expert
          6         witness.    He's a fact witness.        And that
          7         objection goes for all these other
          8         Bitmessages that have been presented and that
          9         will be presented during this deposition.
         10                MS. McGOVERN:      Do you intend to have
         11         this witness opine as to the state of mind of
         12         messages between two individuals on a
         13         document that he is not on and he's not a
         14         recipient of and he's not the subject of?             Is
         15         that the intention?
         16                MR. FREEDMAN:      Our intention is to get
         17         his testimony, his honest testimony.




   H     22         Q.     Who does this document indicate the
   F     23   message was sent by?
         24                MR. KASS:     Objection.
  H, F   25         A.     The document indicates Dave Kleinman.
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     H    1         Q.     And who does the document indicate the
     F    2   message was sent to?
          3                MR. KASS:     Objection to the form.
          4         A.     The message indicates Craig S. Wright.
     H
          5         Q.     And when does the document indicate the
     F
          6   Bitmessage was received?
          7                MR. KASS:     Objection to the form.
  H, F    8         A.     It indicates Tuesday, November 6, 2012.
          9         Q.     Would it have been possible for Craig

    F    10   Wright to receive a Bitmessage from Dave Kleinman on
         11   November 6, 2012?
         12                MR. KASS:     Lack of predicate.
         13         Objection.
         14         A.     I don't see how it could be.
         15         Q.     Why is that?
    F    16         A.     Because the software was not publicly
         17   released at that time.
         18         Q.     When was the software publicly released?
   AA
         19         A.     November 19, 2012.
         20         Q.     Do you have any doubt that the date this
LEC, F   21   document shows as the message being received is
         22   forged?
         23                MR. KASS:     Objection to the form.        Lack
         24         of predicate.
LEC, F   25         A.     No.
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            2               I'm going to hand you what I'll have
            3   marked as Plaintiff's 10.
     H
     IC     4               (Whereupon, a deed was marked as
     F
            5        Plaintiff's Exhibit 10 for identification, as
            6        of this date.)
            7        Q.     And I will also represent, as with some
    H       8   of the other documents I've shown you, that because
    IC
            9   some of the documents that bear Bates labels are
    F
    CC     10   hard to read that the second set here is a more
           11   legible printout of the documents that do not bear
           12   the Bates labels.
           13               I would first like to draw your
           14   attention to the page bearing Bates number 23255.
           15   I believe in the legible version, that's the
     H
     IC    16   fourth page.
     F
           17               In the message that's selected has a
           18   arrow drawn next to it on this page.          Who does
           19   this message -- who does the document show that
           20   this message was sent from?
           21               MR. KASS:     I raise all the same
           22        objections I raised before with that
           23        Bitmessage.
           24        A.     Craig S. Wright.
H, IC, F
           25        Q.     And who does the document show the
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                                                                             Page 30
    H, F     1   Bitmessage was sent to?
             2                MR. KASS:     Objection to the form.
             3           A.   Dave Kleinman.
       H
       F     4           Q.   And on what date does the document show
             5   that this Bitmessage was sent?
             6                MR. KASS:     Objection to the form.
             7           A.   Wednesday, November 7, 2012.
       H     8           Q.   Would it have been possible for Craig
       F
             9   Wright to send Dave Kleinman a Bitmessage on
            10   November 7, 2012?
            11                MR. KASS:     Objection.     Lack of
            12         predicate.
            13         A.     I don't see how he could have.
       H    14         Q.     Would it have been possible for anyone
       F
            15   other than you to send a Bitmessage on November 7,
            16   2012?
            17                MR. KASS:     Objection.
            18         A.     No.
       H    19         Q.     Do you have any doubt that the date field
       F
            20   on this document for this message is forged?
            21                MR. KASS:     Objection.     Lack of
            22         predicate.
H, F, LEC   23         A.     No.
            24         Q.     In this same document -- actually, the
            25   next page which bears --
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                                                                          Page 31
          1                MR. KASS:     Leading.
          2         A.     -- Bates number 23256 -- in the legible
   H
          3   document, it's also the next page, page 5 -- the
   F
          4   document that's shown as selected here, can you tell
          5   me what the subject is.
          6                MR. KASS:     Same objections as the prior
          7         document.
          8         A.     Regarding the trust process.
   H
   F      9         Q.     Who does this -- who does the document
         10   show this Bitmessage was sent by?
         11                MR. KASS:     Objection to the form.
         12         A.     Dave Kleinman.

    H
         13         Q.     And who does the document show that the
    F    14   Bitmessage was sent to?
         15         A.     Craig S. Wright.
         16                MR. KASS:     Objection to the form.

   H     17         Q.     On what date does the document show that
   F     18   this Bitmessage was received?
         19                MR. KASS:     Objection to the form.
  H, F   20         A.     Thursday, November 8, 2012.
         21         Q.     Would it have been possible for Craig
   F
         22   Wright -- sorry -- for Dave Kleinman to send to
         23   Craig Wright a Bitmessage on November 8, 2012?
         24                MR. KASS:     Objection to the form and
         25         lack of predicate.
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                                                                             Page 32
             1         A.     No.
       H
       F     2         Q.     Would it have been possible for anyone to
             3   send a Bitmessage on November 8, 2012?
             4                MR. KASS:     Objection to the form.        Lack
             5         of predicate.
     H, F    6         Q.     Other than yourself?
             7                MR. KASS:     Same objection.
             8         A.     No.
     H
     F       9         Q.     Do you have any doubt that the date shown
    LEC
            10   on this document for this Bitmessage was forged?
            11                MR. KASS:     Objection to the form.        Lack
            12         of predicate.
H, F, LEC   13         A.     No.
            14         Q.     I will take that document back.
            15                I'm now going to hand you what I'll
            16   have marked as Plaintiff's 11.
            17                (Whereupon, Bitmessages were marked as
            18         Plaintiff's Exhibit 11 for identification, as
            19         of this date.)
            20         Q.     Again, as with the other documents,
            21   there's two printouts here, one bearing Bates
            22   numbers and the other that's just a more legible
            23   version of the same documents.
            24                On the first page, which bears Bates
            25   number 13376, I would like to draw your attention
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                                                                          Page 33
         1    to the message that's being shown as selected.
 F, H    2    Can you tell me the subject of this message.
         3                 MR. KASS:     Same objections as all the
         4          prior Bitmessages that you have been shown.
         5          A.     1933.
   F     6          Q.     Who does the document show that the
   H
         7    message was sent by?
         8                 MR. KASS:     Objection to the form.
         9          A.     Dave Kleinman.
    F   10          Q.     Who does the document show that the
    H
        11    message was sent to?
        12                 MR. KASS:     Objection to the form.
        13          A.     Craig S. Wright.
    F
        14          Q.     On what date does the document show the
    H
        15    Bitmessage was received?
        16                 MR. KASS:     Objection to the form.
        17          A.     Sunday, November 11, 2012.
   F
        18          Q.     Is it possible that Dave Kleinman sent
   H
        19    Craig Wright a Bitmessage on November 11, 2012?
        20                 MR. KASS:
                                 SS      Objection
                                         Obj   i   to the
                                                       h form.
                                                          f            Lack
                                                                          k
        21          of predicate.
        22          A.     No.
   F
        23          Q.     Could anyone have sent a Bitmessage other
   H
        24    than yourself on November 11, 2012?
        25                 MR. KASS:     Objection to the form.        Lack
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                                                                          Page 34
            1        of predicate.
   F, H     2        A.    No.

F, H, L,    3        Q.    Do you have any doubt that the date shown
LEC         4   in the "received" field for this message is forged?
            5              MR. KASS:     Objection to the form.        Lack
            6        of predicate.

F, H, L,    7        A.    No.
LEC         8        Q.    If you could turn to the next page, which
            9   bears Bates number 13377.
           10        A.    (Witness complies.)
           11              MR. KASS:     I'm going to raise my same
           12        objections for all these Bitmessages.
           13       Q.     On the document -- on the message that
           14   this document shows as being selected, can you tell
           15   me the subject.
           16              MR. KASS:     Objection to the form.
           17       A.     Regarding 1933.
      F    18        Q.    Who does the document show this
      H
           19   Bitmessage was sent by?
           20              MR. KASS:     Objection to the form.
           21       A.     Craig S. Wright.
     F
           22       Q.     Who does the document show the Bitmessage
     H
           23   was sent to?
           24              MR. KASS:     Objection to the form.

   F, H    25       A.     Dave Kleinman.
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                                                                               Page 35
           F    1        Q.      On what date does the document show the
           H
                2   Bitmessage was sent?
                3                MR. KASS:    Objection to the form.
                4        A.      Tuesday, November 13, 2012.
          F
                5        Q.      Would it have been possible for Craig
          H
                6   Wright to send to Dave Kleinman a Bitmessage on
                7   November 13, 2012?
                8                MR. KASS:    Objection to the form.        Lack
                9        of predicate.
       F, H    10        A.      No.
               11        Q.      Could anyone other than yourself have
     F, H, L
               12   sent or received a Bitmessage on November 13, 2012?
               13                MR. KASS:    Objection to the form.        Lack
               14        of predicate.
     F, H, L   15        A.      No.

        F      16        Q.      Is there any doubt in your mind that the
        H      17   date reflected in the status field for this message
        L
       LEC     18   is forged?
               19                MR. KASS:    Objection to the form.        Lack
               20        of predicate.

F, H, L, LEC   21        A.      No.
               22        Q.      I will take the documents back.
               23                Mr. Warren, is it possible that Craig
          F
               24   S. Wright sent or received a Bitmessage on October
          S
               25   22, 2012?
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                                                                          Page 36
         1                 MR. KASS:     Objection to the form.        Lack
         2          of predicate.
         3          A.     No.
    F
    H    4          Q.     Is it possible that Dr. Wright sent or
         5    received a Bitmessage on November 6, 2012?
         6                 MR. KASS:     Objection to the form.        Lack
         7          of predicate.
         8          A.     No.
    F    9          Q.     Is it possible that Dr. Wright sent or
    H
        10    received a Bitmessage on November 7, 2012?
        11                 MR. KASS:     Objection to the form.        Lack
        12          of predicate.
        13          A.     No.
    F   14          Q.     Is it possible that Dr. Wright sent or
    H
        15    received a Bitmessage on November 8, 2012?
        16                 MR. KASS:     Objection to the form.        Lack
        17          of predicate.
        18          A.     No.
   F
        19          Q.     Is it possible that Dr. Wright sent or
   H
        20    received a Bitmessage on November 11, 2012?
        21                 MR. KASS:     Objection to the form.        Lack
        22          of predicate.
        23          A.     No.
   F
   H    24          Q.     Is it possible that Dr. Wright sent or
        25    received a Bitmessage on November 13, 2012?
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                                                                          Page 37
          1                MR. KASS:     Objection to the form.        Lack
          2         of predicate.
  F, H    3         A.     No.
          4         Q.     Is it possible to alter the date and time
    S
          5   a Bitmessage displays as received?
          6                MR. KASS:     Objection to the form.
    S     7         A.     Yes.

    F     8         Q.     Is it possible to alter the date and time
    H     9   a Bitmessage displays as sent?
         10                MR. KASS:     Objection to the form.

  F, H   11         A.     Yes.




         18         Q.     And a basic understanding -- would this
    L    19   be a relatively simple task with the sqlite3 command
         20   line tool and a basic understanding of SQL?
         21                MR. KASS:     Objection to the form.
         22         Q.     It's SQL.
    L
         23         A.     Yes.

    L    24         Q.     Could you also trick the software into
    S    25   displaying the wrong received date and time if you
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    L     1   backdated your computers' local time before you sent
    S     2   the message?
          3                 MR. KASS:    Objection to the form.
          4         A.      Yes.
          5         Q.      Could you also trick the software into
   L
   S
          6   displaying the wrong sent date and time if you
          7   backdated your computer's local time before you sent
          8   a message?
          9                 MR. KASS:    Objection to the form.

  L, S   10         A.     Yes.
         11         Q.     Based on the documents you've reviewed
         12   today, is it possible to verify that the sender
         13   reflected in the "sender" field was really Dave
         14   Kleinman?
         15                MR. KASS:     Objection to the form.
         16         A.     No.
         17         Q.     If you had the actual address it was sent
         18   from, could you verify with certainty that the
         19   sender was Dave Kleinman?
         20                MR. KASS:     Objection to the form.
         21         A.     No.
         22         Q.     How does the Bitmessage software assign
         23   the name Dave Kleinman to the address or to a
         24   Bitmessage?
         25         A.     The user of the software has to enter the
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                                                                          Page 39
         1    name in their address book.
         2          Q.     Have you ever communicated with Craig
         3    Wright?
         4          A.     No.
         5          Q.     Have you ever communicated with Dave
         6    Kleinman?
         7          A.     No.
         8          Q.     Have you ever communicated with Satoshi
         9    Nakamoto?
       10           A.     Not to my knowledge.




       22           Q.     Mr. Warren, did you create the Bitmessage
       23     software?
  AA
       24           A.     Yes.
       25           Q.     Is it your invention?
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                                                                          Page 40
         1                 MR. KASS:     Objection to the form.
         2          A.     Yes.
         3          Q.     Did anyone else help you in creating the
         4    Bitmessage software?
         5          A.     No.
  AA
         6          Q.     Did you write the Bitmessage code?
         7          A.     Yes.
         8          Q.     Did anyone help you in writing the
         9    Bitmessage code?
        10          A.     When it was originally released, no.
        11          Q.     Did there come a time after you released
        12    the Bitmessage code that someone helped you?
        13          A.     Yes.
        14          Q.     To your knowledge, does anyone understand
    S
        15    Bitmessage better than you?
        16                 MR. KASS:     Objection to the form.
    S   17          A.     No.
        18          Q.     Do you consider yourself an expert on
 LEC
        19    Bitmessage?
        20                 MR. KASS:     Objection to the form.
 LEC    21          A.     Yes.
        22          Q.     When was the first time Bitmessage was

  AA    23    a
              available to anyone other than you?
        24          A.     November 19, 2012.
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         1
         2
         3
         4
         5          A.     Yes.    My user name on GitHub is Atheros1
         6
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         1
         2
         3
         4
         5
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                                                                          Page 62
         1          A.     Correct.




         5          Q.     It's your testimony that -- is it correct
         6    that it's your testimony that you started coding the
         7    Bitmessage program in the summer of 2012?
         8          A.     Yes.
         9          Q.     Do you remember the exact date?
       10           A.     No.
       11           Q.     Are you familiar with a build date?
       12           A.     A build date?
       13           Q.     Yes.
       14           A.     Yes.
       15           Q.     What's a build date?
       16           A.     A build date is the date that computer
       17     software in code form is compiled into a form that
       18     can be easily used by the public and installed on
       19     their computers.
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         1                 Is it accurate to say that the first
         2    step in coding is you start drafting the source
         3    code?
         4          A.     That is an -- that is an early step, yes.
         5          Q.     After that stage, we go to the compiling
         6    stage?
         7          A.     Yes.
         8          Q.     At what point in that do you get a build
         9    date?
       10           A.     When the compiler finishes, that's what I
       11     would call a build date.
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         4          Q.       Do you know how long you took to draft
         5    this source code in the Bitmessage program?
         6          A.       Something like five or six months.
         7          Q.       I want to understand.      You spent five or
         8    six months drafting the source code, then you
         9    compiled it, then you continued doing whatever you
       10     did after that?
       11           A.     Yes.
       12                  MR. KASS:     I'm going to introduce as
       13           Exhibit 1, Defendant's Exhibit 1, to be
       14           clear.
       15                  (Whereupon, a file was marked as
       16           Defendant's Exhibit 1 for identification, as
       17           of this date.)
       18           Q.     Mr. Warren, do you recognize this
       19     document?
       20           A.     No, but I recognize some of the text on
       21     the document.
       22           Q.     What portions of the text do you
       23     recognize?
       24           A.     This is describing -- I recognize the
       25     file name for the initial Bitmessage release.              I see
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         1    some times and dates.       I see some other texts, which
         2    leads me to believe this is a scan of the initial
         3    build of Bitmessage.
         4            Q.    How would someone obtain a scan of the
         5    initial build of Bitmessage?
         6                  MR. FREEDMAN:     We're going to object to
         7            the document.    The witness said he doesn't
         8            recognize it.
         9                  But go ahead.
       10           Q.     Continue.
       11           A.     What was the question?
       12           Q.     My question was:       How would someone go
       13     about creating this through that scan of the
       14     original -- you can answer that.          How would someone
       15     go about doing the scan of the original source code
       16     to obtain this?
       17           A.     This doesn't rook like the scan of source
       18     code.    It looks like a scan of the compiled
       19     executable file, the one that has been built.
       20           Q.     Thank you.
       21           A.     And the easiest way to obtain this would
       22     probably be to use some sort of online website.
       23           Q.     Thank you.
       24                  If you look under history, do you see
       25     where it says creation time?
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          1           A.   Yes.
          2           Q.   Do you know what that refers to?
          3           A.   No.
          4           Q.   Do you see the date over there?
          5           A.   Yes.
          6           Q.   What date does it say?
          7           A.   It says May 25, 2012.
          8           Q.   Could that be the build date of the
          9   Bitmessage software?
         10         A.     It could be.
         11         Q.     Do you have any reason to suspect that
         12   it's not?
         13         A.     Yes.
         14         Q.     What reason do you suspect?
         15         A.     I hadn't finished the software at this
         16   time.
         17         Q.     Okay.    So other than this -- do you have
         18   any explanation for why this date says 2012 when
         19   you're testifying that you hadn't finished the
         20   software by then?      And by 5/25/12, to be clear.
         21         A.     No.
 LEC,    22         Q.     Do you think this document's forged?

LEC, R   23         A.     I think something is forged.
         24                MR. FREEDMAN:      Objection to the form.

  LEC    25         A.     I don't know if it's the document.            It
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                                                                          Page 67
         1    could be the file that's scanned.
         2          Q.     Your only explanation is somebody forged
 LCE
         3    something to make that date?
         4          A.     Yes.
         5
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         1    people.
         2          Q.     I'm asking you do you know what your
         3    friends do?
         4          A.     I don't know what they do.
         5          Q.     Have you ever had conversations with them
         6    about coding software?
         7          A.     Yes.
         8          Q.     Did this ever come up?
         9          A.     No.
       10           Q.     What are the names of your friends that
       11     are software coders?
       12           A.     Well, I have the people that I work most
       13     closely with.      One is named Andy Johnson.
       14           Q.     Who else?
       15           A.     Various people in the Bitcoin community.
       16           Q.     If you would be able to provide me their
       17     names.
       18           A.     May I ask why?
       19           Q.     First of all, you don't really get to ask
       20     questions, but I'll answer anyways.           They're
       21     potential witnesses, and I would like to follow up
       22     with them if necessary.
       23           A.     I can get you their names later.
       24           Q.     I would like to know do you recall their
       25     names right now?
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         1          A.     No.
         2          Q.     So do you remember any of the other names
         3    of any of your friends that you've collaborated with
         4    regarding -- I believe you said Bitcoin --
         5          A.     Bitcoin meet-ups.
         6          Q.     Do you remember any names of the people
         7    that you've met at Bitcoin meet-ups?
         8          A.     No.    I'm blanking.
         9          Q.     Not a one?
       10           A.     I'm blanking.
       11           Q.     Do you know how many people there are?
       12           A.     At a typically meet-up?
       13           Q.     Yes.
       14           A.     Usually upwards of 60.
       15           Q.     How often do you have these meet-ups?
       16           A.     I used to go a lot more often.           In 2012
       17     and 2013, I went to every meeting like every --
       18     about every two weeks, I think they were.             Lately --
       19     I haven't been to one lately.          The last one I've
       20     before to is probably three months ago.
       21           Q.     Is there any reason why you wouldn't want
       22     to provide me with their names?
       23           A.     No.
       24           Q.     It's just you're blanking on all 60
       25     names?
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                                                                          Page 73
         1                 MR. FREEDMAN:      Objection to the form.
         2          A.     Yes.
         3          Q.     I want to remind you you're under oath in
         4    this case.     Do you remember that?


         6          Q.     You're aware you're testifying about very
         7    important issues?
         8          A.     Yes.
         9                 MR. FREEDMAN:      Objection to the form.
  R    10           Q.     Do you know that your testimony is going
 BOL
 UP    11     to be used to declare somebody a fraud?
 MPT   12           A.     Yes.
       13                  MR. FREEDMAN:      Objection to the form.
       14           Q.     Yet you still state you cannot remember
       15     the names of even one of those 60 people?
       16                  MR. FREEDMAN:      Objection to the form.
       17           A.     I'm very bad with names, and that is
       18     correct, I don't remember.
       19           Q.     How about in your day-to-day work?            You
       20     mentioned one person.       I believe Andy Johnson?
       21           A.     Correct.
       22           Q.     Any other names that you can recall?
       23           A.     Yes.    The people that I work with.
       24           Q.     What are their names?
       25           A.     Brendan Diaz.      Another gentleman named
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         1    Mariano.    We have two people named Luis, L-U-I-S.
         2    We called them LC1 and LC2.         Another individual
         3    named Alex.     Another individual named Virginia.           And
         4    those are the people I work most closely with.




       16           Q.     Did you collaborate with anybody in
       17     developing the Bitmessage software?
       18           A.     No.
       19           Q.     Did you speak with anybody about it?
       20           A.     Not to my memory.       I don't believe I did.
       21           Q.     Okay.    I just want to make sure -- would
       22     it be accurate that say that as you sit here today
       23     right now, you're not aware of any instance where
       24     you collaborated with anybody?
       25           A.     That's correct.
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         2          Q.      I want to make sure we're on the same
         3    page as to what I mean by collaborating and what I
         4    mean by the software.
         5                  So even if it wasn't specifically, I
         6    have a question about Bitmessage, just in your
         7    research, did you speak to anybody?
         8                  MR. FREEDMAN:     Objection to the form.
         9          Q.      In the developing of the software, did
       10     you speak to anybody?
       11                  MR. FREEDMAN:      Objection to the form?
       12           A.     Not that I recall, no.
       13           Q.     Did you ask -- by speak, I mean ask
       14     questions, emails, text.        Anything of that nature.
       15           A.     No.
       16           Q.     Okay.    Now, you state you don't recall,
       17     but just based on your knowledge as to how you've
       18     worked in the past and how software development is
       19     done, would you be surprised that you didn't speak
       20     to anybody?
       21                  MR. FREEDMAN:      Objection to the form.
       22           A.     No.
       23           Q.     Why not?
       24           A.     Because this was for me a personal
       25     project, and I was curious if I could accomplish it
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         1    on my own initially.
         2           Q.    Were you afraid that you would be
         3    embarrassed when you released it and possibly it
         4    wouldn't work?
         5           A.    Yes.
         6           Q.    That didn't matter to you?
         7           A.    It did matter, but the only way to gain
         8    collaborators is to put your work out there and see
         9    what happens.
       10            Q.    Well, isn't -- another option is that you
       11     do a smaller release?       You send it to some of your
       12     buddies you have that work in different corporate
       13     environments and say, hey, I'm developing software,
       14     I want to send you messages, let's see if it works?
       15            A.    I didn't have enough peers to that have
       16     experience to judge whether it's good software or
       17     not.    You've brought up network connectivity as a
       18     primary concern when really there would be a whole
       19     variety of other things I could have been worried
       20     about, like whether the encryption is good or bad or
       21     a variety of other topics, and I didn't have any
       22     peers that I could have asked about those things.
       23            Q.    I understand.      But as far as actual
       24     connectivity to make sure one message goes from one
       25     inbox to the other inbox, you didn't want to check
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         1    that out with any of your friends to make sure that
         2    worked?
         3          A.     No.




       11           Q.     Were you worried that you would release
       12     the software and someone would say your cryptography
       13     sucks?
       14           A.     A little bit.
       15           Q.     Did you do anything to alleviate those
       16     concerns?
       17           A.     No.
       18           Q.     If I were to show you a message where you
       19     actually reached out to someone to ask for help,
       20     would that document be forged?
       21           A.     The document might jog my memory.
       22           Q.     Oh.
       23           A.     So I can't guarantee it's forged until I
       24     have an opportunity to have my memory jogged.
       25           Q.     All right.     Let's give it a shot.
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                                                                          Page 78
         1                 MR. KASS:     I'm going to introduce as
         2          Defendant's Exhibit number 2.
         3                 (Whereupon, a subreddit document was
         4          marked as Defendant's Exhibit 2 for
         5          identification, as of this date.)
         6          Q.     If you could take a moment to look at the
         7    document.    You can let me know when you're done.
         8          A.     Okay.
         9          Q.     Now, having reviewed this document, do
       10     you recall whether you asked anybody any questions
       11     related to Bitmessage?
       12           A.     I don't believe I asked anyone any
       13     questions related to Bitmessage.          I do remember
       14     talking to a professor at my college a long time
       15     ago, but it wasn't about anything
       16     Bitmessage-related.
       17           Q.     So what was it connected with?
       18           A.     I don't remember.
       19           Q.     Well, if we look at this message, right,
       20     which portion did you draft?
       21           A.     I drafted the title and the body of the
       22     message, the body.
       23           Q.     Just to clarify, is that the little
       24     bubble on the top, the bubble on the top left
       25     corner?
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         1          A.     Yes.
         2          Q.     How about the text right above it that
         3    begins with RSA?      Is that you also?
         4          A.     I believe so.      I don't remember making
         5    this, but --
         6          Q.     Do you have any reason to believe this
         7    document is forged?
         8          A.     No.
         9          Q.     Okay.    So if this document isn't forged,
       10     did you make it, then?
       11           A.     It appears so, yes.
       12           Q.     Okay.    Could you please read the sentence
       13     that starts with RSA.
       14           A.     Given two different messages and two
       15     different public keys, can an attacker determine
       16     which key was used on which message.
       17           Q.     Do you know what that's referring to?
       18           A.     It suggests that I'm asking about
       19     anonymity.
       20           Q.     Anonymity related to what?
       21           A.     Related to messages and public keys.
       22           Q.     Do you know of any software that was
       23     being developed at that time related to anonymity
       24     and keys?
       25           A.     I must have been batting around the idea
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         1    in my head of Bitmessage.
         2            Q.   Let's look at the date.         What's the date
         3    on the top right corner next to where it says two
         4    points?
         5            A.   October 5, 2012.
         6            Q.   At this point in time, were you batting
         7    around ideas?
         8            A.   Oh, no.
         9            Q.   So what were you doing at that point in
       10     time?
       11           A.     I must have been looking for verification
       12     that my idea for -- for Bitmessage anonymity was
       13     sound.
       14           Q.     So would it be accurate to say that your
       15     question related to Bitmessage?
       16           A.     Yes.
       17           Q.     And you were posting this on the public
       18     web asking anybody if they could help you out with
       19     regards to that?
       20           A.     Yes.
       21           Q.     And then under that question that begins
       22     with RSA, there's a comment in a little bubble.              Is
       23     that comment also yours?
       24           A.     Yes.
       25           Q.     Can you read the text of that comment.
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                                                                          Page 81
         1          A.     It says:     I've emailed a former professor
         2    who wasn't completely sure but helped me formalize
         3    the problem into this title.         Is this answer to this
         4    question different for RSA and ECC and other public
         5    key algorithms.
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       15           Q.     Now that we've established that you've at
       16     least spoken to one former professor related to
       17     Bitmessage and you've posted on Reddit to the entire
       18     web, can you recall any other people or entities
       19     that you spoke to regarding Bitmessage?
       20           A.     No.
       21
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                    Q.     There could have been a version of
              Bitmessage that was released on the dark web prior
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                                                                          Page 90
         1    to November 28, 2012?
         2          A.     Yes.
         3          Q.     Okay.
         4                 MR. FREEDMAN:      Objection to the form.
         5          Q.     Separately, could a version of the
         6    software .061 or a different version have been
         7    released on the dark web prior to October 2012?
         8          A.     No.
         9          Q.     Why?
       10           A.     Because in order to release software onto
       11     the dark web, someone would have to have access to
       12     the code in order to build it, and I did not, so I
       13     don't see any other possibility.
       14           Q.     You did not what?
       15           A.     I did not build it and release the
       16     software onto the dark web at all ever.
       17           Q.     But was it built at that point in time in
       18     October?
       19           A.     There were surely a variety -- was it
       20     built in October?      It probably was, yes.        I probably
       21     built it many times.
       22           Q.     Okay.    So could it have ended up on the
       23     dark web?
       24           A.     If someone hacked my computer, either my
       25     work or home computer, then it could have been
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         1    released early, yes.
         2          Q.     Is it possible for someone to have hacked
         3    your home or work computer without your knowledge?
         4          A.     Yes.
         5          Q.     Are you able to state definitively that
         6    you were not hacked?
         7          A.     No.
         8
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         8          Q.     Do you recall having testified a little
         9    while back that -- or initially having testified
       10     that you didn't ask anybody questions about
       11     Bitmessage prior to release?
       12           A.     Yes.
       13           Q.     Okay.    But then after having shown you a
       14     document, you did recall some communications?
       15           A.     Yes.
       16           Q.     Do you recall having testified that
       17     nobody else helped you test the software prior to
       18     release?
       19           A.     Yes.
       20           Q.     Is that still your answer or do you think
       21     possibly somebody did help you?
       22           A.     I very much believe that I tested it on
       23     my own.
       24           Q.     Is it a possibility?
       25           A.     Yes.
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                                                                          Page 93
                    Q.     Okay.    If somebody did help you test it
         2    prior to release, do you know who that person would
              be?
         4          A.     No.
         5          Q.     Could it be any of those 60 people whose
         6    names you don't recall from the Bitmessage meet-ups?
         7          A.     Yes.
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         3          A.     No.
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       10           A.     Not that I'm particular attached to.
       11     None that are backed up, if that's what you mean.
       12           Q.     I want to know do you have any important
       13     or sensitive information in your text messages.
       14           A.     I probably do.
       15           Q.     Okay.    How do you generally communicate
       16     with people?     Written communication.        I just want to
       17     clarify.
       18           A.     It depends on who I'm communicating with.
       19     I will use text messages, emails, GitHub comments,
       20     Reddit posts, Skype.
       21           Q.     How about Bitmessage?
       22           A.     I tried using Bitmessage for general
       23     communications for a while early on, and I was
       24     hoping it would catch on.
       25           Q.     What do you mean by that?
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         1          A.     I mean that I used it as much as possible
         2    to communicate internally with people that were
         3    interested in using it.        Internally to the project.
         4    Internally to the Bitmessage project.
         5          Q.     How about other people in your life?
         6    Have you used Bitmessage to communicate with them?
         7          A.     I had one friend that I got to use it for
         8    a little while early on, so yes.
         9          Q.     Other than that one friend, have you used
       10     Bitmessage to communicate with anybody else?
       11           A.     Friends?
       12           Q.     Anybody.
       13           A.     Anyone, yes.
       14           Q.     Who?
       15           A.     I've communicated with people related to
       16     the Bitmessage project.        People who have asked
       17     questions through it, just people who I didn't know
       18     ahead of time asking questions.          I think that's
       19     mostly it.
       20           Q.     Other than people associated with the
       21     development of Bitmessage or questions about the
       22     development of Bitmessage, have you ever used
       23     Bitmessage to communicate with anybody else?
       24           A.     No.
       25           Q.     That includes friends?         You don't use
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         1    Bitmessage to communicate with friends?
         2          A.      No.
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        11          Q.      But do you approve every feature before
        12    it goes out?
        13          A.      For a while, I was approving all the
        14    features as they went out.         Eventually, I gave
        15    enough access to another individual so that he could
        16    approve those sorts of features also.
        17          Q.      How long ago did that happen?
        18          A.      Something like four years ago.          Three or
        19    four years ago.
        20          Q.      What's that person's name?
        21          A.      Peter Serta.
        22          Q.      Would it be accurate to say there could
        23    be certain features or functionalities of Bitmessage
        24    that you're not familiar with?
        25          A.      Yes.
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         1          Q.      On the Bitmessage network, what are
         2    nodes?
         3          A.      Nodes are clients that individuals run
         4    that -- that bounce messages between all of the
         5    other nodes.      All of the nodes collectively form the
         6    network and relay messages between each other.
         7          Q.      Okay.    If one wanted to test if the nodes
         8    were functioning, how would one do that?
         9          A.      You would connect to several of them and
        10    send a message to yourself on another client or
        11    friend or something like that and see if the message
        12    correctly gets routed through those nodes to the
        13    destination.
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         1            A.    I would have -- I believe I had a server
         2    at this time running at my parents' house which I
         3    think had the website on it, and I could use a
         4    terminal to view its screen and control its keyboard
         5    so I could make changes to the server when it was
         6    necessary.     And using that server as one of the
         7    initial Bitmessage nodes is probably something I
         8    would have done also.
         9            Q.    I want to clarify.       You said at this
        10    time.    What time are you referring to when you were
        11    doing this testing on the different nodes?
        12          A.      Oh.    When I had the software most of the
        13    way done and was making sure that all the
        14    communication was taking place as I expected it to.
        15          Q.      Can you give me a specific date?
        16          A.      No.
        17          Q.      Could it have happened prior to October
        18    of 2012?
        19          A.      Yes.
        20          Q.      Where in your parents' house was this
        21    server?
        22          A.      It was in the basement.
        23          Q.      Okay.    How would one access that
        24    computer?
        25          A.      You would physically access it by opening
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         1    up a cupboard and attaching a monitor to it.              I
         2    don't think it had a monitor attached normally,
         3    because I didn't use it with a monitor.             I would use
         4    it remotely.
         5          Q.      Was there a password to get onto this
         6    server?
         7          A.      Yes.
         8          Q.      Why?
         9          A.      Because there needed to be an access
        10    control mechanism so that I would be the only one
        11    able to access it.
        12          Q.      Were there other people in the house that
        13    had physical access to that server?
        14          A.      Yes.
        15          Q.      Who?
        16          A.      Anyone who was there.        My parents and
        17    brother and sister.
        18          Q.      You were concerned that your parents or
        19    brother and sister would gain unauthorized access to
        20    that server?
        21
        22          A.      No.    The concern for the password was to
        23    prevent people on the Internet from accessing it.
        24          Q.      Let's just break this down.
        25                  As far as actually interacting with the
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         1    server, plugging it into a screen, going onto
         2    that, I'm talking about something physical in the
         3    house.
         4          A.      Okay.
         5          Q.      Was there a password for that?
         6          A.      No.
         7          Q.      So there was your mother, your father,
         8    your brother, your sister who were in the home with
         9    the unencrypted server which had a copy of your
        10    Bitmessage software?
        11          A.      Yes.
        12          Q.      Are you aware of anybody else who was in
        13    the house?
        14          A.      They surely had guests.
        15          Q.      Okay.    Was that cupboard locked?
        16          A.      No.
        17          Q.      So it was available to anybody who was in
        18    the house?
        19          A.      Yes.
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         1    of getting it, given my skill set at the time.
         2          Q.      And the skill set of your professors?
         3          A.      Well, my professor didn't help me with
         4    it.
         5          Q.      So what did your professor do with
         6    regards to that communication in Reddit, which I
         7    believe was Exhibit Defendant's 2?
         8          A.      What did the professor -- say again.
         9          Q.      What was your professor's role?
        10          A.      I must have asked him just basically this
        11    question.     I don't remember emailing him, but it
        12    appears that I asked him about relating messages
        13    versus public keys.
        14          Q.      Do you have any reason to believe that
        15    you would ask just your professor just this one
        16    question and didn't ask him anything else related to
        17    Bitmessage?
        18          A.      Do I have any reason to believe that?
        19          Q.      Yeah.
        20          A.      If he wasn't helpful, then I wouldn't
        21    have followed up.
        22          Q.      Okay.    But you could have asked other
        23    questions previously where he would have been
        24    helpful?
        25          A.      Yes.
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         1          Q.      You acknowledge at least on one occasion
         2    where you had a question, you reached out for help?
         3          A.      Yes.
         4          Q.      Now let me ask my question, though:           When
         5    you released the software publicly, November 28,
         6    2012, it was the best you could do with any
         7    collaboration that you received from anybody?
         8          A.      Yes.
         9                  MR. FREEDMAN:      Objection to the form.
        10          Q.      And you were satisfied with its status?
        11                  MR. FREEDMAN:      Objection to the form.
        12          A.      Yes.
        13          Q.      Was it broken when you released it?
        14          A.      Yes.   I think so.
        15          Q.      What do you mean by that?
        16          A.      Some people didn't like the fact that it
        17    used RSA.
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         1          Q.      Okay.    Were there any other cryptography
         2    techniques of the Bitmessage software?
         3          A.      Surely a lot, yes.
         4          Q.      Did you ever do an audit of the
         5    Bitmessage software?
         6          A.      Yeah.    One organization or person sent me
         7    a report.
         8          Q.      Do you remember who that organization or
         9    person was?
        10          A.      No.
        11          Q.      Do you know what date they sent you that
        12    report?
        13          A.      No.
        14          Q.      All right?
        15          A.      It wasn't immediate.        It was after at
        16    least some number of months, but I don't remember
        17    when exactly.
        18          Q.      Do you recall more than one audit being
        19    sent to you?
        20          A.      No.
        21          Q.      Okay.    Could it have happened?
        22          A.      Yes.    I mean, it's possible to do audits.
        23    There are more in-depth versus not very in-depth.               I
        24    recall one formal report being sent.            Beyond that, a
        25    number of people looked at the code and the software
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         1    and gave their own informal audits.
         2          Q.      Were any of those initiated by you?
         3          A.      No.




        23          Q.      I could rephrase that.
        24                  You mentioned that if I were to put the
        25    address into some software, it will tell me what
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                                                                         Page 113
         1    version it is?
         2           A.     Yes.
         3           Q.     If I wanted to know at what point in time
         4    was that system put in place, how would I find that
         5    out?
         6           A.     You would go to git or GitHub and look at
         7    the source code that was released initially on
         8    November 2012 to see if addresses at that time
         9    supported versions.
        10           Q.     Okay.
        11           A.     If they did, you would know that they
        12    supported versions from the very beginning.
        13           Q.     Okay.    The way to definitively know,
        14    someone would look at git and look at the different
        15    codes?
        16           A.     Looking at the source code in GitHub
        17    would show you whether addresses have versions very
        18    easily.
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                                                                         Page 118
         1          Q.      Do you consider the forensic examination
         2    of documents to be one of your skill sets?
         3          A.      No.
         4          Q.      I would like you to look at a document
         5    that was previously marked Plaintiff's Exhibit 7.
         6          A.      (Witness complies.)
         7          Q.      Prior to today, have you seen this
         8    document?
         9          A.      No.
        10          Q.      Do you have any idea how this document
        11    came to be?
        12          A.      No.
        13          Q.      Have you done any sort of analysis on
        14    this document?
        15          A.      No.
        16          Q.      Do you have any personal knowledge as to
        17    this document?
        18          A.      No.
        19          Q.      Now, I would like you to look at a new
        20    exhibit -- a previously marked exhibit, which is
        21    Plaintiff's Number 8.
        22                  Prior to today, did you ever see this
        23    document?
        24          A.      No.
        25          Q.      Do you know how this document came to
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                                                                         Page 119
         1    exist?
         2          A.      No.
         3          Q.      Do you have any personal knowledge
         4    related to this document?
         5          A.      No.
         6          Q.      Have you ever done any analysis of this
         7    document?
         8          A.      No.
         9          Q.      Thank you.     I'm going to move on to
        10    Plaintiff's Number 9.
        11                  Prior to today, have you ever seen this
        12    document?
        13          A.      No.
        14          Q.      Do you have any knowledge as to how this
        15    document came to exist?
        16          A.      No.
        17          Q.      Do you have any personal knowledge as to
        18    this document?
        19          A.      No.
        20          Q.      Have you done any sort of analysis on
        21    this document?
        22          A.      No.
        23          Q.      Thank you.
        24                  Plaintiff's 10.      Prior to today, have
        25    you seen this document?
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                                                                         Page 120
         1          A.      No.   I don't think so.       No.
         2          Q.      What's your final answer?         I want to have
         3    a clear record.
         4          A.      No.
         5          Q.      Do you know how this document came to
         6    exist?
         7          A.      No.
         8          Q.      Do you have any personal knowledge as to
         9    this document?
        10          A.      No.
        11          Q.      Have you done any sort of analysis with
        12    this document?
        13          A.      No.
        14          Q.      I'm going to move on to Plaintiff's 11.
        15    Prior to today, have you seen this document?
        16          A.      No.
        17          Q.      Do you know how this document came to
        18    exist?
        19          A.      No.
        20          Q.      Do you have any personal knowledge
        21    relating to this document?
        22          A.      No.
        23          Q.      Have you done any sort of analysis on
        24    this document?
        25          A.      No.
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         7          Q.      How confident are you that you weren't
         8    aware of Dr. Craig Wright prior to that discussion
         9    on Reddit after he was released or, you know, outed
        10    as Satoshi?
        11          A.      I'm not particularly confident.
        12          Q.      You could have communicated with him
        13    beforehand?
        14          A.      I'm relatively -- yes.
        15          Q.      Could those communications have been
        16    related to Bitmessage?
        17          A.      Yes.
        18          Q.      Could those communications have been
        19    related to an audit of Bitmessage?
        20          A.      Yes.
        21          Q.      Could those communications have been
        22    related to having him test a version of Bitmessage?
        23                  MR. FREEDMAN:      Objection to the form.
        24          A.      Not prior to release.
        25          Q.      Okay.    I'm sorry.     That wasn't my
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                                                                          Page 123
         1    question.     My question was could you have
         2    communicated with him relating to the testing of
         3    Bitmessage?
         4                  MR. FREEDMAN:      Objection to the form.
         5          A.      Yes.
         6                  MR. KASS:     I'm going to introduce an
         7          exhibit which I believe will be Defendant's
         8          3.   It's really one exhibit.         I just didn't
         9          have a stapler.       I apologize for that.
        10                  (Whereupon, an email was marked as
        11          Defendant's Exhibit 3 for identification, as
        12          of this date.)
        13          Q.      I need you to just take a minute to look
        14    over the email.
        15                  MR. FREEDMAN:      What's the Bates number?
        16                  MR. KASS:     It's internal.      It actually
        17          hasn't been produced.        It wasn't responsive
        18          to requests.      Or we hadn't reviewed it yet.
        19                  I just want to clarify it for the
        20          record.     We did find it in advance of this
        21          depo.
        22                  MR. FREEDMAN:      Is this a real email
        23          file or a PDF?      Can you give me any details
        24          about this file?
        25                  MR. KASS:     I don't know.      I'm sorry.     I
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         1          don't have that handy.
         2          A.      I've reviewed it.
         3          Q.      What does this appear to be to you?
         4          A.      This is an initial scan using an automate
         5    tools and some communications from Alan Peterson to
         6    me regarding prioritizing what to review and what to
         7    -- like do a security assessment on -- regarding
         8    Bitmessage.
         9          Q.      Okay.    And if you look under where it
        10    says "hi, Jonathan," would you be able to read the
        11    next line that starts with the word "I."
        12          A.      It says:    I have been assigned as project
        13    manager for the static security software code review
        14    of the Bitmessage software as agreed with Craig
        15    Wright on 17th November 2014.
        16          Q.      That's good.     Thank you.
        17                  And is there somebody copied on this
        18    email?
        19          A.      Yes.
        20          Q.      Who is that?
        21          A.      Craig S. Wright.
        22          Q.      Does this refresh your recollection
        23    whether you had heard of Dr. Wright prior to his
        24    being outed in 2016?
        25          A.      No.
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         1          Q.      Do you believe this email is valid?
         2          A.      Yes.
         3          Q.      Do you have any reason to suspect it's a
         4    forgery?
         5          A.      No.
         6          Q.      So do you believe you were sent this
         7    email?
         8          A.      Yes.
         9          Q.      And do you remember the context of this
        10    email?
        11          A.      No.
        12          Q.      Okay.    Do you know if that security audit
        13    was ever done?
        14          A.      No.
        15          Q.      All right.     Do you know if prior to this
        16    date you communicated with Dr. Wright?
        17          A.      No.
        18          Q.      Could it have happened?
        19          A.      Yes.
        20          Q.      And could that communication with Dr.
        21    Wright have been related to Bitmessage?
        22          A.      Yes.
        23          Q.      And if that communication did happen,
        24    would you have a copy of that email?
        25          A.      No.
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                                                                         Page 126
                    Q.      Why?
         2          A.      Because I don't have email going back
              that far.
         4          Q.      Okay.    Could that communication have
         5    happened in 2012?
         6          A.      Yes.
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         4          Q.      Mr. Warren, do you believe your devices
         5    were ever hacked?
         6          A.      No.
         7          Q.      Do you have any reason to believe that
         8    they were hacked?
         9          A.      No.
        10          Q.      Did you tell Mr. Kass that you cannot
        11    definitively -- you cannot say definitively that you
        12    were not hacked because anything is possible?
        13          A.      Yes.
        14                  MR. KASS:     Objection to the form.
        15          Q.      Why did you tell Mr. Kass that you cannot
        16    say definitively that you were not hacked?
        17          A.      Because a hacker might have gotten in
        18    without me being aware.
        19          Q.      What is the probability that you were
        20    hacked?
        21                  MR. KASS:     Objection to the form.
        22          A.      I have no --
        23                  MR. KASS:     Absolutely no predicate.
        24          Q.      What is the probability you were hacked,
        25    someone took a copy of Bitmessage and distributed
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                                                                         Page 137
         1    that on the dark web?
         2                  MR. KASS:     Objection to the form.        Lack
         3          of predicate.
         4




        11          Q.      Would you say it is likely that you were
        12    hacked?
        13                  MR. KASS:     Objection to the form.
        14          A.      No.
        15          Q.      Would you say it's unlikely that you were
        16    hacked?
        17                  MR. KASS:     Objection to the form.
        18          A.      Yes.
        19          Q.      Why do you say it's unlikely that you
        20    were hacked?
        21          A.      Because if someone was to hack into my
        22    computer, they could have done a lot more than steal
        23    a copy of Bitmessage.        For example, they could have
        24    stolen cryptocurrency.
        25          Q.      To your knowledge, has cryptocurrency
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                                                                         Page 138
         1    ever been stolen from you?
         2          A.      No.
         3          Q.      Is it even less likely that you were
         4    hacked, someone took a copy of Bitmessage, and
         5    distributed it on the dark web?
         6                  MR. KASS:     Objection to the form.
         7          A.      Yes.
         8          Q.      Is it even less likely that you were
         9    hacked, someone took a copy of Bitmessage,
        10    distributed that on the dark web, and you've never
        11    heard about it during your active development of
        12    Bitmessage over the past seven years?
        13                  MR. KASS:     Objection to the form.
        14          A.      Yes.
        15          Q.      Have you ever heard of anyone obtaining a
        16    copy of Bitmessage before you publicly released it
        17    in November of 2012?
        18          A.      No.
        19          Q.      Have you ever seen any evidence that
        20    Bitmessage was available to anyone prior to November
        21    19, 2012?
        22          A.      No.
        23          Q.      Besides the messages I've shown you today
        24    and messages you sent to yourself while testing,
        25    have you ever seen a Bitmessage that was purportedly
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          1   sent or receive prior to November 19, 2012?
          2         A.      No.
          3         Q.      You testified earlier that no one helped
          4   you test Bitmessage prior to its release; is that
          5   correct?
          6         A.      Yes.
          7         Q.      Then you said, while I very much believe
          8   I tested it on my own, it is a possibility that
          9   someone helped; is that correct?
         10         A.      Yes.
         11         Q.      Did you say it was a possibility because
         12   anything is possible, no matter how remote?
         13                 MR. KASS:     Objection to the form.
         14         A.      Yes.
         15         Q.      What is the probability that someone
    S
         16   helped you test Bitmessage prior to its release?
         17                 MR. KASS:     Objection to the form.
         18         A.      Very unlikely.
     S
         19         Q.      How unlikely?
         20                 MR. KASS:     Objection to the form.
         21         A.      I don't know how to quantity unlikeliness
         22   like that, but --
     S   23         Q.      Highly --
         24         A.      It's very hard for me to imagine my
         25   memory is so bad in that regard that I would forget.
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         1          Q.      Along those lines, I would like you to
         2    take a look at Defendant's 2, which I think is the
         3    Reddit post.
         4          A.      Yes.




         9          Q.      If the professor didn't answer your
        10    question, did he help you in developing Bitmessage?
        11          A.      No.    In fact, I remember him being
        12    unhelpful.
        13          Q.      Did anyone in this thread satisfactorily
        14    answer your posted question?
        15          A.      Yes.
        16          Q.      Do you consider that answer to be a
        17    equivalent of helping you develop Bitmessage?
        18          A.      No.
        19          Q.      Do you consider answers to any general
        20    question you may have posed to be helping you with
        21    the development of Bitmessage?
        22          A.      No.
        23          Q.      I would like you to look at Defendant's
        24    1.
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         1          A.      Yes.
         2          Q.      Standing here today, do you recall
         3    compiling the Bitmessage code in May of 2012?
         4          A.      Not specifically in May of 2012.
         5          Q.      If you had compiled the Bitmessage code
         6    in May of 2012, would that code have been
         7    operational?        In other words, does compiling code
         8    mean that that code functions?
         9          A.      No.
        10          Q.      Would Bitmessage have functioned in May
        11    of 2012?
        12          A.      No.




        18          Q.      Is compiling software something you would
        19    only do once you considered the code to be complete?
        20                  MR. KASS:     Objection to the form.
        21          A.      No.
        22          Q.      Is it something you would periodically do
        23    as to where you were coding to where you could
        24    detect errors early on?
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         1            A.    Yes, especially at the very beginning to
         2    make sure you can compile it in the way you hope to
         3    at the end.
         4            Q.    Mr. Kass asked you a series of questions
         5    about Plaintiff's Exhibit 8, 9, 10, and 11.
         6                  Do you recall that?
         7            A.    I don't remember the exhibits exactly.
         8    Those exhibits reflected the Bitmessage inboxes
         9    updated November 6th, 7th, 8th, 11th, and 13th.
        10    Okay.
        11          Q.      Do you recall looking at those exhibits?
        12          A.      Yes.
        13          Q.      You answered to his questions about each
        14    document that you had not seen any of these
        15    documents prior to today's deposition; is that
        16    correct?
        17          A.      Yes.
        18          Q.      Is it at all possible you did see a copy
        19    of those documents prior to today?
        20                  MS. McGOVERN:      As in anything is
        21          possible in the realm of possibilities?
        22                  MR. FREEDMAN:      Amanda.
        23          A.      Yes.
        24          Q.      You said that you could have communicated
        25    with Craig Wright about Bitmessage; is that right?
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         1          A.      Yes.
         2          Q.      Why did you say that?
         3          A.      Because I don't remember the names of
         4    everyone that I communicated with, especially going
         5    back that far.
         6          Q.      But you have a distinct recollection of
         7    never sharing the Bitmessage code with anyone prior
         8    to its release on November 29, 2012?
         9                  MR. KASS:     Objection to the form.
        10          A.      Yes.
        11          Q.      I would like to now draw your attention
        12    to Defendant's Exhibit 3, which is the email.              Did
        13    you ever respond to this email?
        14          A.      I don't remember.
        15          Q.      Do you recall reaching an agreement with
        16    Craig Wright at any time prior to December 2, 2014?
        17          A.      No.
        18          Q.      Do you know what the email is referencing
        19    when Mr. Peterson says as agreed with Craig Wright
        20    on 17th November 2014?
        21          A.      No.
        22          Q.      Do you remember anything at all about
        23    this email exchange?
        24          A.      No.
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         1    spoke with --
         2                  MR. KEEFE:     Strike the question.
         3            Q.    Earlier you were asked to name people
         4    that you had worked with.
         5            A.    Yes.
         6            Q.    Specifically, I think, in Bit coding
         7    groups?
         8            A.    Yes.
         9            Q.    You said you were blanking on names at
        10    the moment but you would be willing to provide those
        11    names to us later?
        12          A.      Yes.   I've remembered two since then.
        13          Q.      Can you provide them to us.
        14          A.      Yes.   One of them is Jonathan Mohan,
        15    M-O-H-A-N.     And the other is -- I'm sure I'll
        16    remember it soon.
        17          Q.      As you sit here now --
        18          A.      I remembered.      It's Owen Gunden.       I don't
        19    know how to spell it exactly, but it's Gundren or
        20    Gundrin.
        21          Q.      I'm going to hand you what have been
        22    marked as Plaintiff's Exhibits 7 through 11.              They
        23    all contain at least a page purporting to be a
        24    Bitmessage sent or received prior to November 19,
        25    2012.
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              1                Do you remember that?
              2                MR. KASS:     Objection to the form.        And
              3          asked and answered.
              4          A.    I remember seeing this exhibit earlier,
              5   yes.
              6          Q.    Do you remember testifying that
      AA
      LEC     7   Bitmessages -- that the printouts purported to be
       F
              8   Bitmessages prior to November 19, 2012, were forged?
              9                MR. KASS:     Objection to the form.
      AA     10          A.    Yes.
      LEC
       F     11          Q.    Do you still believe they are forgeries?
             12                MR. KASS:     Objection to the form.
             13          A.    Yes.
      AA
      LEC    14          Q.    Are you as certain as you could possibly
       F     15   be that they are forgeries?
             16                MR. KASS:     Objection to the form.

AA, LEC, F   17          A.    Yes.
             18          Q.    Has anything Mr. Kass asked you today
             19   changed your opinion as to the nature of those
             20   documents?
             21                MR. KASS:     Objection to the form.
             22          A.    Is he Mr. Kass?
             23          Q.    Yes.
             24          A.    No.
             25          Q.    Has anything he's shown you today changed
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                                                                         Page 147
         1    your opinion about those documents?
         2                  MR. KASS:     Objection to the form.
         3          A.      No.




         9          Q.      Mr. Warren, you testified before that you
        10    had a copy of a server in your parents' house that
        11    was running the Bitmessage software.
        12          A.      Yes.
        13          Q.      Did you store copies of your
        14    cryptocurrency assets on that server?
        15          A.      No.
        16          Q.      All right.
        17                  Now, my other question is -- not
        18    related to that server, just in general -- how do
        19    you store your -- the private keys to your
        20    cryptocurrency assets?
        21          A.      I'm hoping this can be covered as much as
        22    possible by --
        23                  MR. FREEDMAN:      I can imagine you're
        24          compromising the security of --
        25          Q.      I will rephrase it and see if we can work
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                                                                         Page 148
         1    around like that.
         2                  The private keys to your cryptocurrency
         3    assets, are they encrypted?
         4          A.      Yes.
         5          Q.      Okay.    If somebody were to get into your
         6    computer somehow, would they be readily available to
         7    that person?
         8          A.      No.
         9          Q.      What type of encryption do you use?
        10          A.      (No verbal response given.)
        11          Q.      If you're not comfortable, I may be able
        12    to rephrase it.       Are you comfortable answering that
        13    question?
        14          A.      No.
        15          Q.      Would you rate that encryption as strong?
        16          A.      When I have it in use, it is very, very,
        17    very strong, yes.
        18                  MR. FREEDMAN:      Can you get a time frame
        19          from him.
        20          Q.      Since when have you started encrypting
        21    your Bitcoin private keys?
        22          A.      From the very beginning, from 2011.
        23          Q.      Have you ever stopped encrypting your
        24    Bitcoin private keys?
        25          A.      Yes.
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                                                                         Page 149
         1            Q.    When have you stopped encrypting them?
         2            A.    Whenever I accessed the coins, I took
         3    them out of encryption.
         4            Q.    By accessed, do you mean transacted with?
         5            A.    Yes.   Any time I needed to send
         6    cryptocurrency to an exchange or somewhere else, I
         7    needed to take them out of my encrypted solution.
         8            Q.    And then after that, would you re-encrypt
         9    it?
        10          A.      Yes.
        11          Q.      Typically how long does that transaction
        12    take?
        13          A.      An hour or two.
        14          Q.      Did you encrypt the files for Bitmessage
        15    while you were working on them?
        16          A.      No.
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                                                                          Page 150
         1          do you waive that right?
         2                  THE WITNESS:     I waive it.
         3                  THE VIDEOGRAPHER:         The is approximately
         4          4:51 p.m.     This concludes today's deposition.
         5          We are now going off the record.
         6                  THE COURT REPORTER:         You had one
         7          realtime hook up and a five-day expedite?
         8                  MR. KASS:     Yes.
         9                  THE COURT REPORTER:         And you had one
        10          realtime and a five-day expedite?
        11                  MR. FREEDMAN:      Yes.
        12                    (Whereupon, the within examination
        13          was concluded.      Time Noted, 4:51 P.M.)
        14
        15     I have read the foregoing record of my testimony
        16    taken at the time and place noted in the heading
        17    hereof and I do hereby acknowledge it to be a true
        18    and correct transcript of same.
        19
        20                                          __________________
        21                                          JONATHAN WARREN
        22    Subscribed and sworn to before me
        23    on this _____ day of _________, 2019.
        24
        25    ___________________________________
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                                                                         Page 151
         1
         2                                I N D E X
         3
         4    EXAMINATION OF           BY                       PAGE
         5    Jonathan Warren          R. Keefe              5-40,136-147
         6                             Z. Kass            41-135,147-149
         7
         8                            E X H I B I T S
         9    PLAINTIFF'S              DESCRIPTION              PAGE
        10    1                        Conf. order                 7
        11    2                        Bitmessage doc             11
        12    3                        Bitmessage                 16
        13    4                        Bitmessage                 18
        14    5                        Bitmessage                 18
        15    6                        Bitmessage                 20
        16    7                        Bitmessage                 22
        17    8                        Bitmessage                 24
        18    9                        Bitmessage                 26
        19    10                       Deed                       29
        20    11                       Bitmessage                 32
        21
        22    DEFENDANT'S              DESCRIPTION              PAGE
        23    1                        File                       64
        24    2                        Subreddit doc              78
        25    3                        Eamil                    123
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                                                                         Page 152
         1                        C E R T I F I C A T E
         2
         3                    I, Melissa Leonetti, RPR, a Notary
         4    Public of the State of New York, do hereby certify:
         5          That the testimony in the within proceeding was
         6    held before me at the aforesaid time and place.
         7    That said witness was duly sworn before the
         8    commencement of the testimony, and that the
         9    testimony was taken stenographically by me, then
        10    transcribed under my supervision, and that the
        11    within transcript is a true record of the testimony
        12    of said witness.
        13                   I further certify that I am not related
        14    to any of the parties to this action by blood or
        15    marriage, that I am not interested directly or
        16    indirectly in the matter in controversy, nor am I in
        17    the employ of any of the counsel.
        18                    IN WITNESS WHEREOF, I have hereunto
        19    signed this 30th day of July, 2019.
        20
        21
        22
        23    Melissa Leonetti
        24
        25
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EDWWLQJ     ELDV                      %0&                 
EHDU     ELJ               ERG\            
EHDULQJ                          %RLHV       FDOOHG 
           ELOOLRQDLUH                        
EHDUV      ELW                ERRN            
                                        ERUURZV          FDOOLQJ 
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FDOOV             FOLHQW        FROODERUDWLRQ           FRPSXWHU V 
FDSDEOH                 &ROODERUDWLYH                     FRQFHSW  
FDUHHU                                              FRQFHSWLRQ 
FDVH              FROODERUDWLYHO\               FRQFHSWXDOO\
                                                       
                        FROODERUDWRUV     FRPPXQLFDWLRQV        FRQFHUQ 
FDVK                              FROOHDJXHV                     
FDWFK             FOLHQWV     FROOHFWLRQ              FRQFHUQHG 
FDWFKXS               FROOHFWLYHO\            FRQFHUQV 
FDXVH                    FROOHJH                     FRQFOXGH 
                        FRPH      FRPPXQLW\        FRQFOXGHG 
FHQWUDOL]HG                                         FRQFOXGHV 
FHUWDLQ          FORVH                   FRPSDQLHV        FRQFOXVLRQ 
                 FORVHO\                                   FRQGLWLRQ 
FHUWDLQO\         FORXGEDVHG      FRPIRUWDEOH     FRPSDQ\        &RQI 
FHUWDLQW\         FRGH                             FRQILGHQFH 
FHUWLILFDWLRQ               FRPLQJ                            
FHUWLILFDWLRQV               FRPPDQG       FRPSDULVRQ        FRQILGHQW 
FHUWLI\                FRPPHQFHPHQW          FRPSLOH        
FKDQJH                                              FRQILGHQWLDO 
                    FRPPHQW       FRPSLOHG            
                                                     
FKDQJHG              FRPPHQWV                FRQILGHQWLDOLW\ 
                        FRPPLW       FRPSLOHU             
FKDQJHV                      FRPSLOLQJ       
                                        FRQILUP 
FKHFN                FRPPLWV                FRQQHFW 
                            FRPSOHWH          
FKLOG                    FRPPLWWHG                        FRQQHFWHG 
FKRLFH                             FRPPRQ            FRPSOHWHO\       FRQQHFWLRQ 
FKRVH             FRGHG                               FRQQHFWLYLW\ 
FKRVHQ             FRGHUV           FRPPXQLFDWH       FRPSOLFDWHG        
&LQFLQQDWL      FRGHV                 FRPSOLHV         FRQVLGHU 
        FRGLQJ                              
FLUFOH                              FRPSRVLWH          
FODLPV                                      FRPSURPLVLQJ          FRQVLGHUHG 
FODULILFDWLRQ               FRPPXQLFDWHG                          FRQWDFWV 
FODULI\      FRJQL]DQW                  FRPSXWHU       FRQWDLQ 
         FRLQ                          FRQWDLQHG 
           FRLQV                          FRQWH[W  
FODVV             FROODERUDWH                             
FODVVLFDOO\                                                 FRQWH[WV 
FOHDU        FROODERUDWHG      FRPPXQLFDWLQJ                   
                                         &RQWLQXH 
                  FROODERUDWLQJ                FRPSXWHUV         FRQWLQXHG 
FOHDUO\                         FRPPXQLFDWLRQ                  FRQWURO  
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           FRYHUHG         '             GHDOV                 
FRQWUROOLQJ       FRZRUNHU      GDUN      'HFHPEHU           
FRQWURODOW                            GHFHQWUDOL]HG        
FRQWURYHUV\     FRZRUNHUV                GHFLGH        
FRQYHQWLRQ                          GHFLGHG        GHVFULEHG 
          FRZRUNHU V                      GHFLVLRQV         GHVFULELQJ 
                &UDLJ        GDWD                      '(6&5,37,21
FRQYHUVDWLRQ                     GHFODUDWLRQ      
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FRQYHUVDWLRQV              GDWDEDVH          GHFRGH           GHVLJQDWH 
                         GDWH                         
FRSLHG                             GHFU\SWHG      GHVLJQDWHG 
FRSLHV                         GHHG        GHVLJQHG 
                                     'HIHQGDQW      GHVWLQDWLRQ 
FRS\       FUHDWH              'HIHQGDQW V      GHVWUR\HG 
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      FUHDWHG                          GHWDLOV  
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FRUH            FUHDWHV                               GHWHFW 
FRUQHU       FUHDWLQJ             '()(16(            GHWHUPLQH 
FRUSRUDWH      FUHDWLRQ               GHIHUHQFH           
                              GHILQLWHO\       GHYHORS 
       FU\SWR                          
           FU\SWRFXUUHQF\                                  
FRUUHFW                     GHILQLWLYHO\      GHYHORSHG 
                                 
                                         GHYHORSHUV 
                                   GHJUHH            GHYHORSLQJ 
        FU\SWRJUDSKLF                GHJUHHV              
                                        GHOHWH         
         FU\SWRJUDSK\          GDWHG                          
                     GDWHV        GHOHWHG         GHYHORSPHQW 
                                                                       
FRUUHFWO\         FXSERDUG         'DYH        GHOHWHV            
                                        GHOHWLQJ        
FRVWV           FXULRXV                    GHPDQG           
FRVWEHQHILW      FXUUHQF\                                
FRXQVHO        FXUUHQW                 GHSHQGV          GHYHORSV 
                                                GHYLFHV 
                     'DYLG           GHSR              
FRXSOH           FXUUHQWO\         GD\          GHSRQHQWV          'LD] 
FRXUVH                               GHSRVHG      GLII  
FRXUW                                GLIIHUHQFH 
                                            GHSRVLWLRQ           
                               GD\WRGD\                  
FRXUWHV\                 '             GH                         GLIIHUHQW  
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               GUDIW                   
                                      HTXLYDOHQW 
               GUDIWHG                   HUURUV 
             GUDIWLQJ              
                                  HVSHFLDOO\ 
             GUDZ                        
                               HPDLOHG          
                    GUDZQ                             (64  
                  'UHDG           HPDLOLQJ            
GLIIHUHQWO\           GUXJV            HPDLOV     HVWDEOLVKHG 
GLIILFXOW                    GXO\                 (VWDWH  
GLIILFXOW\              '9'                     
GLPLQLVKLQJ                                        HW 
GLUHFW                            (                          HYHQWV  
GLUHFWO\               (       HPEDUUDVVHG      HYHQWXDOO\ 
                                         
GLVDJUHHPHQW                  (DPLO          HPEDUUDVVLQJ          HYLGHQFH 
                                HDUOLHU                       H[DFW  
GLVFRPIRUW       GRFXPHQWDWLRQ             HPSOR\           H[DFWO\  
GLVFRYHULQJ                                     (0&           
GLVFXVV          GRFXPHQWV      HDUO\   HQFRGHG              
GLVFXVVHG                       HQFU\SW             
                             HQFU\SWHG        H[DPLQDWLRQ 
GLVFXVVLQJ                                          
GLVFXVVLRQ            HDVLHU   HQFU\SWLQJ         
                  HDVLHVW                   
GLVFXVVLRQV                            HQFU\SWLRQ          
GLVSOD\HG                 HDVLO\             H[DPLQHG 
                                        HQGHG            H[DPSOH  
GLVSOD\LQJ                        (DVWPDQ   HQGV                    
                   GRFXPHQW V      HDV\            HQJDJHG           
GLVSOD\V         GRLQJ       (&&        HQVXUH           H[FKDQJH 
GLVWDQFH                 HGLW             HQWHU          
GLVWLQFW                       HGXFDWHG       HQWHUHG              
GLVWULEXWH         GRPDLQ          HGXFDWLRQ      (QWHUSULVH        H[FKDQJHV 
GLVWULEXWHG      GRPDLQV         HIIHFW    HQWLUH      ([FXVH 
               GRXEW                                 
'LVWULFW            HLJKW   HQWLWLHV          H[HFXWDEOH 
GLVWXUEHG                             HQWU\               
GRF           GRZQORDG         HLWKHU   HQYLURQPHQW         H[KLELW  
GRFXPHQW                                           
           'U       HPDLO                      
                       HQYLURQPHQWV             
                                  
                                      
                                     
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                                        
                                       
       IDVW             ILYH                 
         IDWKHU                                       
H[KLELWV  IDYRUV            ILYHGD\                  
              IHDWXUH     ILYHPLQXWH                  
H[LVW                                
           IL[LQJ                       
H[LVWHG                        )OH[QHU                
H[LVWHQFH      IHDWXUHV                                 
H[LVWLQJ             )ORULGD             IULHQG  
H[SHFW    IHHO                                   
H[SHFWHG                 IOXFWXDWLRQV                IULHQGV 
                              IROORZ                      
H[SHGLWH    ILHOG        IROORZHG                     
H[SHULHQFH              IROORZLQJ                   
         ILJXUHG                                   IXOO\ 
               ILOH     IROORZV                      IXQFWLRQ 
H[SHULHQFLQJ               IRUFH                    IXQFWLRQDOLWLHV
                     IRUHJRLQJ                 
H[SHULPHQWDO             IRUHQVLF     IRUPDO          IXQFWLRQHG 
H[SHUW     ILOHG                      IRUPDOL]H         IXQFWLRQLQJ 
H[SODLQ         ILOHV     IRUHYHU           IRUPHU      IXQFWLRQV 
H[SODQDWLRQ              IRUJHG                         
                ILOLQJ                    IRUXP         IXUWKHU 
H[SODQDWLRQV    ILQDO                                     
H[SRUW        ILQDOO\                 IRUZDUG 
          ILQG                  IRXQG                     *
H[SRUWLQJ                     IRXU         * 
H[WHQW                IRUJHULHV            JDLQ  
                        IRUJHU\          IRXUWK       JHQHUDO  
                    ILQH      IRUJHW          IUDPH              
          )         ILQLVK            IRUNHG         )UDQFR        
)        ILQLVKHG     IRUNV                         JHQHUDOO\ 
                      IRUP      IUDXG         
IDFW                                IUHH              JHQHUDWHV 
         ILQLVKHV                  )UHHGPDQ       JHQWOHPDQ 
              ILUP                       JHRJUDSKLF 
IDFWRU          ILUVW                           
IDLU                                    JHWWLQJ 
IDNHG                               
IDPLOLDU                              JLW  
                                   
                              *LW+XE 
IDU                              
                                 
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                                      KRSH              
        JRYHUQV      KDVK              KRSLQJ     LQFOXGHV 
       JUDGXDWHG   KDVKLQJ                           
                         KHDG              KRXU           ,QFOXGLQJ 
              JUHDWHU       KHDGLQJ         KRXU V          ,QFRUSRUDWHG 
*LW+XEFRP      JURXQG         KHDGVXS         KRXVH       LQFRUSRUDWHV 
JLYH        JURXSV        KHDUG                LQFRUUHFW 
        JXDUDQWHH                         LQFUHPHQWHG 
          JXHVV                                  ,QGH[ 
                     KHDULQJ         +XGVRQ       LQGLFDWH  
      JXHVWV       KHOG                                 
JLYHQ        *XQGHQ       KHOS                     ,         LQGLFDWHV 
           *XQGUHQ                 LGHD          
                *XQGULQ                    LQGLUHFWO\ 
JODULQJ         *                              LQGLYLGXDO 
JR                                      ,GHDOO\           
                 +         KHOSHG       LGHDV        LQGLYLGXDOV 
       +                 LGHQWLILFDWLRQ       
       KDFN                             ,1)2 
       KDFNHG   KHOSIXO            LQIRUP 
                                      LQIRUPDO 
JRHV                KHOSLQJ                LQIRUPDWLRQ 
                                             
                            KHUHRI          LGHQWLILHU      LQLWLDO 
JRLQJ        KDFNHU       KHUHWR             LGHQWLILHUV        
        KDOI    KHUHXQWR        LGHQWLW\           
                    KH\                           
        KDOIZD\                         LOOHJDO         LQLWLDOO\ 
        KDQG   KL              LOOLFLW        
            KLJK             LPDJLQH           
              +LJKO\                         LQLWLDWHG 
                +LJK6LGH       LPPHGLDWH      ,QVLGH 
         KDQGLQJ       KLJKVSHHG        LPPHGLDWHO\  LQVWDOOHG 
          KDQGOHG        KLVWRU\               LQVWDQFH 
            KDQG\                          LPSOHPHQW       ,QVWLWXWH 
        KDSSHQ         KROGHUV         LPSOHPHQWHG          LQWHQG 
                   KROGLQJV             LQWHQWLRQ 
        KDSSHQHG                              LQWHUDFW 
                   KRPH         LPSOHPHQWLQJ         LQWHUDFWHG 
                                         LQWHUDFWLQJ 
JRRG                            LPSRUWDQW        LQWHUDFWLRQ 
          KDSSHQV                        LQWHUHVW 
                              LPSRVHG           
                KDUDVVLQJ                LQER[   LQWHUHVWHG 
*RRJOH           KDUG      KRQHVW           LQER[HV            
JRWWHQ               KRRN             LQFOXGH   LQWHUIDFH 
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                                                                                                 Page 8

LQWHUPHGLDWH         .DVV                  NQRZOHGJHDEOH        OLPLWDWLRQV 
                        NH\ERDUG                        OLQH 
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-DQXDU\                           /&              ORQJ   
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                     NHHS                            ORVW 
        .            NHHSLQJ                       ORW  
.DSODQ            NH\                      OLIH                  
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                                          QHHGHG  
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                         PRYLQJ         QHWZRUN  
ORWV                       PXOWLSOH         
/XLV                                     
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PDFKLQHV                       PHW                         
0DJQD        PHFKDQLVP      0LDPL          1DNDPRWR             
PDLQ          PHGLD      PLGGOH            QDPH        
PDMRU       PHGLFDO         PLJUDWH                  
PDNLQJ         PHGLFDWLRQ                                   
    PHHWLQJ           PLOOLRQ             QHZHU  
         PHHWXS         PLQG             QHZV 
               PHHWXSV                             
PDQDJHU                        PLQH                    QLFH 
PDQXDOO\      0HOLVVD     PLQXWH                 QRG 
0DULDQR                                                  QRGH  
PDUN       PHPRUL]HG       PLQXWHV          1DPHFRLQ         
                                QDPHG      QRGHV 
PDUNHG   PHPRU\         PLVPDUNHG                      
            0LVV\            QDPHV           
    PHQWLRQ           PLVWDNHQ                  
    PHQWLRQHG        PLVWDNHV                  
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                    PRQWK          QDUURZ         1RWDU\  
PDUNHWV                PRQWKV          QDWXUH             
PDUULDJH                           QRWHG 
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                                        
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QXPEHU                                     
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              REMHFWLRQV                    RXWZHLJK       SHHUV 
QXPEHUV                           2YHUDOO        SHHUWR 
                              2ZHQ          SHHUWRSHHU 
QXPHULFDO     REWDLQ      ROG       RZQHG         SHQ 
                    REWDLQLQJ                 RZQHUVKLS      SHRSOH  
         2          REYLRXVO\                                          
2             RFFDVLRQ         RQFH                              
RDWK        RFFDVLRQDOO\                                3           
REMHFW     RFFXU             RQHV         3             
     RFFXUUHG                       SDJH          
                                 RQOLQH             
REMHFWHG      RFFXUUHQFHV                        
REMHFWLRQ    2FWREHU                             
                RSHQ               
             RSHQLQJ                  
        RIIHUHG          RSHUDWLQJ                   
      RIILFH                                    
     RIILFLDO      RSHUDWLRQDO      SDJHV     SHULRG  
      2K       RSLQH          SDSHU      SHULRGLFDOO\ 
                    RSLQLRQ           SHUVRQ  
    RND\                                  
                         SDUDJUDSK       
            RSSRUWXQLW\      SDUHQWV       
              RSSRVHG                  
           RSSRVLQJ                  SHUVRQDO  
            RSWLPDO          SDUW          
                 RSWLRQ              
                                     SHUVRQDOO\ 
                         SDUWLFXODU     SHUVRQ V 
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SHUVSHFWLYH                    SRVWV               
3HWHU            SOXJJLQJ                                     SURJUDP 
3HWHUVRQ          SRLQW        SRWHQWLDO                     
                          SUDFWLFDO                  
3*3                          SUDFWLFH               
SKRQH                                   
                      SUHGDWHV                     
       SRLQWV             SUHGLFDWH              SURJUDPPLQJ 
      SROLF\                            SURJUDPV 
       3RQFH                                 SURJUDP V 
                 SRRU                                        SURJUHVV 
3KRWRV             SRUQRJUDSK\              SULRULWL]LQJ     SURMHFW  
SKUDVH           SRUWLRQ                  SULYDF\             
SK\VLFDO                                  SULYDWH       SURRI 
            SRUWLRQV                             SURSHU 
                 SRUWV       SUHSDUDWLRQ                      SURSHUWLHV 
SK\VLFDOO\       SRVHG            SUHSDUH       SULY\            SURWHFWLRQ 
SLHFH      SRVLWLRQ       SUHVHQW       SUREDELOLW\     SURWHFWLYH 
                           SUHVHQWHG                  
3LUDWH            SRVVHVVLRQ        SUHVHUYH         SUREDEO\         SURWRFRO 
SODFH                         SUHVHUYHG                  
          SRVVLELOLWLHV    SUHWW\              SURWRFROV 
            SRVVLELOLW\                              SURYH 
                      SUHYHQW                  SURYLGH  
                  SRVVLEOH                                     
3ODLQWLII                     SUHYLRXV                   
SODLQWLIIV                 SUHYLRXVO\       SUREOHP           SURYLGHG 
                           SUREOHPV          SURYLQJ 
SODLQWLII V                      SURFHHG           SVHXGRDQRQ\PRXV
                                                 
                SULFH        SURFHHGLQJ       SXEOLF  
                                                    
                      SULPDU\                       
                   SULQWHG           SURFHVV         
                 SULQWRXW                          
                                           SURGXFHG           
           SRVVLEO\      SULQWRXWV        SURGXFW            
                                               SURIHVVRU          
            SRVW           SULRU         SXEOLFL]HG 
SODQ                                       SXEOLFO\ 
SODQQLQJ                                              
SOD\         SRVWHG                            
                                         SXEOLVK 
SOD\LQJ                                           SXEOLVKHG 
SOHDVH                               SURIHVVRUV        
         SRVWLQJ                     SURIHVVRU V       SXUFKDVH 
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                                                     
SXUSRUW                           UHIOHFWHG             
SXUSRUWHG                                       
SXUSRUWHGO\                     UHFHLYH                    
               TXLFN                   UHIOHFWV         
SXUSRUWLQJ     TXRWH         UHFHLYHG       UHIUHVK         
SXUSRVH                                                           
SXUSRVHV               5                UHJDUG             
SXUVXDQW         5                  UHJDUGLQJ            
SXVK                                       
SXW        UDLVH                              UHOHDVHV 
        UDLVHG                 UHJDUGOHVV           
        UDWH                                           UHOHDVLQJ 
                UHDFKHG        UHFHLYLQJ        UHJDUGV          UHOHYDQFH 
SXWV                                                    UHOHYDQW 
SXWWLQJ          UHDFKLQJ      UHFLSLHQW        UHJLVWHUHG         
3\%LWPHVVDJH         UHDG      UHFLSURFDO       UHLPSRUW        UHPDLQ 
                     UHFRJQL]H                         UHPDLQLQJ 
3\WKRQ                             UHLPSRUWLQJ      UHPHPEHU 
SP                     UHODWHG          
                                   
              UHFRJQL]HG                     
       UHDGLO\                                  
               UHDO     UHFROOHFWLRQ                
                     UHDOO\                              
        4                                              
TXDQWLW\                UHFRUG         UHODWHV               
               UHDOP                 UHODWLQJ           
TXHVWLRQ      UHDOWLPH                       
     UHDVN                                     
      UHDVRQ                UHODWLRQVKLS         
                          UHODWLYHO\      
                                      
                       UHOD\            UHPHPEHUHG 
           UHFRUGV       UHOD\HG             
                       5HGGLW      UHOD\V          UHPHPEHULQJ 
         UHDVRQV                UHOHDVH     UHPLQG 
      UHFDOO                       UHPRWH 
               UHGLUHFW                UHPRWHO\ 
                                     UHQWDEOH 
                  UHIHUHQFH               UHSHDW  
                 UHIHUHQFLQJ               UHSKUDVH 
TXHVWLRQV            UHIHUULQJ                       
                                    
                UHIHUV                             UHSRUW 
          UHIOHFW          UHOHDVHG     UHSRUWHU  
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               6DQV                          
                VDWLVIDFWRULO\                VHUYHUV  
UHSRVLWRULHV                                        VHUYLFH  
UHSUHVHQW          VDWLVILHG        VHHLQJ         
                       6DWRVKL                       6HUYLFHV 
         5,9(52                   VHHQ         VHW  
                 UNHHIH#EVIOOSFRP                      VHWV 
5(35(6(17$7                         VDYH                      VHYHQ 
                   5RDG    VDZ                         VKDSH 
UHSUHVHQWHG                           VHOHFW     VKDUH  
UHSUHVHQWV                      VD\LQJ            VHOHFWHG           
                 5REHUW                       VKDUHG 
UHTXHVW                  VD\V                      VKDULQJ 
UHTXHVWHG        5REHUWV                VHOO             VKRUW  
UHTXHVWV        UROH              VHOOLQJ      VKRW 
UHVHDUFK       URRN                   VHQG      VKRZ  
UHVHUYHG          URRP           VFDQ                    
UHVSHFW       5RVV                               
UHVSHFWLYH     URXJK           VFDQQHG                   
UHVSHFWLYHO\    URXWHG     VFDQQLQJ                     
UHVSRQG                       VFKHPH                           
UHVSRQVH          URXWHUV    6FKLOOHU     VHQGHU       
                                  VHQGLQJ         VKRZHG 
UHVSRQVLYH      URXWLQJ        VFKRRO        VHQVH              
UHVWULFWLRQV      535        VFKRROLQJ           VHQVLWLYH        VKRZLQJ 
                 56$     VFLHQFH         VHQW       VKRZQ  
UHVXOW                      VFUHHQ                    
UHWDLQ          UXGLPHQWDU\    VFUHHQVKRW                     
UHWHQWLRQ      UXOHV                                     
UHWXUQV          UXQ       VFULEEOHV                  
UHYLHZ              6(                          
             VHDOLQJ                   VKRZV 
                      VHFRQG                  
UHYLHZHG      UXQQLQJ                           
                                       VLJQ  
UHYLHZLQJ                VHFXUH                       
UHYLVLRQ                  VHFXULW\                  VLJQHG 
UHYLVLRQV         UXQV                VHQWHQFH            
UHHQFU\SW       UXVK                              VHSDUDWH       
5LFKDUG                           VHH       6HSDUDWHO\        6LON  
ULJKW                   6                 VHULHV               
       6                6HUWD             
                    VHUYHU       VLPLODU 
                                         
                                        VLPSOH  
           VDODULHG                              
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VLPSO\                                      VWRFN                
VLQJOH            VROG         VSHOO     VWROHQ        
VLVWHU                         VSHOOLQJ      VWRS                 
                  VROXWLRQ         VSHQW             VWRSSHG            
VLW          VRPHERG\      VSRNH                            
                                     VWRUDJH             
VL[                     VSRNHQ           VWRUH         
                          64/                           VXUHO\  
VNHWFKLQJ                    VTOLWH       VWRUHV              
VNLOO                 VWDJH       6WUHHW                
6N\SH                                            6WULNH      VXUSULVHG 
VPDOO             VRPHRQH V        VWDJHV                        VXVSHFW 
VPDOOHU       VRRQ            VWDPS            VWURQJ            
                 VRUU\       VWDQGDUG                      69  
VRIWZDUH                  6WDQGLQJ        VWXGLHG           VZDS 
                                   VXEMHFW     VZHDU 
          VRUW         VWDQGV                    VZLWFKHG 
              VWDSOHU          VXEMHFWHG       VZRUQ  
                   VWDUW       VXEPLVVLRQ        
                                      V\VWHP  
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        VRUWV                                      
                       VWDUWHG      VXEUHGGLW     6$16 
       VRXQG                        
          VRXUFH                                          7
                             6XEVFULEHG      7   
                VWDUWLQJ     VXFFHVVIXOO\       
                                  VXFNV            WDNH  
                   VWDUWV       VXJJHVWV            
                           6XLWH                  
                      VWDWH      VXPPHU            
           6RXWKHUQ                              
         VSHDN              6XQGD\               
                       VXSHUYLVLRQ        
                                    VXSSRUWHG        
       VSHFLDOL]HG    VWDWHPHQW                WDNHQ  
        VSHFLDOW\         6WDWHV                           
             VSHFLILF        VWDWLF          VXSSRVH              
            VSHFLILFDOO\     VWDWXV                       
                    VWD\         VXUH     WDNHV 
                VWHDO                   7DON  
                  VWHQRJUDSKLFDOO\               WDONHG 
                                                 WDONLQJ  
         VSHFLILHV     VWHS                         
        VSHFLI\          67,38/$7('                    
           VSHFXODWH                                  WDQGHP 
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                                                                                                  Page 15

WDVN                    WKUHH                         
WDXJKW           WHVWLQJ                    WROG          
WHDFK                           WRRO          
WHFKQLFDO                           WRROV               
                                               WRS             
WHFKQLFDOO\               7KXQGHUELUG                     
WHFKQLTXHV                                  WRSLFV              
WHFKQRORJ\                  7KXUVGD\          WRWDO               
                            WLJKWHQ          WRZQ          WZR\HDU 
WHOO         WH[W         WLPH        WUDFLQJ           W\SH  
                              WUDFN               
                       WUDFNHG              
                        WUDFNLQJ        
WHOOV                           WUDGHG              
WHPSRUDULO\       WH[WV                   WUDGLQJ              
WHQ         7KDQN                 WUDLQLQJ           
WHUP                               WUDQVDFWHG       W\SHG 
WHUPLQDO                           WUDQVDFWLRQ       W\SHV 
WHVW                                            
                               WUDQVDFWLRQV     W\SLFDOO\ 
        WKHRUHWLFDOO\                                
                            WUDQVFULEHG 
          WKHRU\                  WUDQVFULSW               8
       WKLQJ                              8 
                              WUDQVIHU     8KKXK 
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XQOLNHOLQHVV                          
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ZULWWHQ                                                
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